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lN THE UN|TED STATES D|STR|CT COURT
|N AND FOR THE DlSTR|CT OF UTAH, CENTRAL D|STR|CT

 

AARON J. JOHNSON

PLA|NT|FF,
VS.

SALT LAKE C|TY, a municipal corporation;
Jac|<ie Biskupski, individually and as l\/layor;
l\/largaret Plane, individually and as Legal
Director; Erin l\/lendenhal|, individually and as
5th District City Councilor and Council Chair;
Chris Wharton, individually and as 3rd District
Councilor and Council Co-Chair,' Brian Fu|mer,
individually and as assistant to Chris Wharton;
Ra|ph Becl<er, individually and as former Salt
Lal<e City l\/layor; Stan Penfo|d, individually
and as former 3rd District Councilor; and DOES
1 THROUGH 10

DEFENDANTS' ,'

 

ClVlL R|GHTS CO|\/lPLA|NT FOR
|NJUNCT|VE, DECLARATORY REL|EF
AND DAl\/|AGES

42 U.S. Code § 1983

Case: 2118-cv-OO467
Assigned To ; Warner, Pau| lV|.
Assign. Date : 6/8/2018

Description: Johnson v. Sa|t Lake City, et al

 

 

 

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1. l|\|TRODUCT|O|\|

”it is emphatically the province and duty of the judicial department to say What the law
is,” il/iarbury v. Madison, 5 U.S. (l Cranch) 137, 177 (1803), and We have held that the
President's blocking of the individual plaintiffs is unconstitutional under the First
Amendment. Because no government official is above the /aW". ~ quoting Justice
Buchwa|d, United States District Court, Southern District Of NeW York, Knight First
Amendment institute v. Trump (1:17-cv-05205), [doc 72] l\/lemorandum & Order, Filed

05/23/18 pp. 74 of 75

This suit is initiated 'Because no government official is above the iaW’. Salt Lake, as a
governmental body, may not exclude the political viewpoints of others from the cities
designated public forums. Because this governmental body has engaged in viewpoint
censorship and unequal treatment, the deprivations of constitutional rights of the P|aintiff
are actionable under 42 U.S. § Code 1983.

That the governmental body as Salt Lake, failed to protect, let alone al|oW, the equal
freedoms of speech on designated public forums at the council city, and several of its city
councilors social media sites as Facebool<.

|n this case, Salt Lake’s ethos on equality appear to be a ltwo-steps-short' mission statement
about a much hyped ‘Welcome and inclusion'. No one Welcomes an exclusion from an equal
participation to engage on a designated public forum acting as a public common for the
exchange of political discussion.

The messages of equality Salt Lake has broadcast is one of inclusion. Yet, this very public

broadcast from Washington Square, then failed to add another unsettling reality about is

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elected leaders up in a post Knight v. Trump social media reality. That message is how its
leadership concealed a history of its own Trump-like restrictions on others. Concea|ed how it
restricted the speech against one of its own residents, a veteran, for the last four yearsl

Salt Lal<e concealed this alternative message about the type of ”inequality" it provides those
who are in consensus with its own viewpoints. lt buried a long record of civil rights
deprivations they have been engaging in, like some Emit Till biopic it hoped would never
surface.

Salt Lal<e concealed these violations while it decried the same violations against the sitting
U.S. President. How was it possible for this leadership to criticize rights deprivations of thier
political foes as they busily obscured their own identical deprivations against its citizens
clearly established constitutional rights -- in their own front yard? Yes, this has been the
mixed messaging on Salt Lake’s ”welcome inclusion” vis-a-vis its leadership and
administration

. This governmental body and its policymakers actively continues to acively restrict political
engagement on several of its designated public forums. lt continues to withhold full
participation on these forums to members ofa similarly situated' class of people-as Salt Lake
residents,

. These restrictions-deprived similarity situated resident's rights of speech to residents and-
continue on multiple Salt Lake City forums_long before the Knight FirstAmendment institute
v. Trump had even begun.

For a city of welcome inclusion boasting of it concomitant ACLU leadership, an ACLU

constantly warning city leaders not to censor others in Utah's establishment media-one

 

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would think the ACLU itself would have taken up this very cause if its mission were equally
about assisting others?

How are civil rights deprivations not a mixed message of unwelcome exclusion? How is that
message not one of bias and discrimination as applied to the Equa| Protection Clause of the
Fourteenth Amendment?

As evidenced by this complaint and summons, Salt Lake’s defendants continue to ignore a
string of critically acclaimed precedents on First Amendment protections; precedent of law
prohibiting the same type of viewpoint-censorship they engaged in for the last four years on
multiple designated city public forums. The most recent precedent of law being Judge Naomi
Buchwa|d's Knight First Amendment institute v. Trump case in the 2"°' District of New York,
lt's featured prominently as the opening statement of this 42 U.S. Code § 1983 cause of
action.

These precedent, and loads more, are a history of a rule of law Salt Lake ignored. They are
that 'no government official is above the iaw'. These rulings are consistent in this form of
speech prohibition.

So why does Salt Lake continue to act above the law? Why has Salt Lake prohibited speech
using the same unconstitutional social media policies of censorship in this case as in the
Knight v. Trump case and others, dating to, on or about, October 23rd, 2014?

What's known about this case is straight forward. Salt Lake’s censorship has been a custom
and practiced since 2014, That by its custom, this practice acts as policy. A policy ignoring the

voices and viewpoints of those who do not fit a stereotype fantasy of equality in this city.

 

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As this case relates to case law under l\/lonel|, this governmental body known as Salt Lake City
has been (1) committing acts of viewpoint-censorship which are deprivations of a
Constitutional right of speech and equal protection; and that (2) these deprivations are
committed under action and color of state law - as policies of final policy makers on behalf of
this governmental body -see American Manufacturers Mutuai Insurance Co. v. Su/iivan, 526
U.S. 40, 49 (1999) with respect to Moneil.

Despite Plaintiff's efforts to remedy these issues on speech and equality, and there are
several, Salt Lake’s legal department as the policy makers under Defendant Plane-defendant
Plane being a former ACLU directorfor the $tate of Utah-ignored each and every request
seeking remedy or a solution or simply to stop.

Plane, and other policy makers as the l\/layor, ignored these requests no matter what channel
or manner of communications these requests to stop arrived from. The result of all Plaintiff's
attempts are now a federal Summons because defendant Plane_thatformerACLU warrior
of civil rights as this governmental bodies legal policy maker-- continued to implement this
governmental bodies unconstitutional social media policy in the city council's
Communications department and elsewhere.

While the communications department committed the action of blocking the Plaintiff on Salt
Lake’s primary Council Facebook site, the communications department has never been the
final policy maker for Salt Lake’s governmental body (emphasis added).

The communications department’s actions are subordinate actions-subordinated as a legal
function by custom and practice and as a policy of subordination to Plane. You see, it was

the policy makers final authority allowing the blocking to continue without end. The policy

 

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makers in this case, have final authority to evaluate a governmental body's created liability-
they allowed the blocking and liability to remain in place dating to 2014 or earlier. That's the
message of equality Salt Lake strapped on the back of this plaintiff- Salt Lake’s legacy as a
welcome horne from iraq and Afghanistan.

Plane as the legal policy maker for this governmental body, as applied to Moneii,l acted
above the law as a government official. Plane's decisions, as that legal policy maker_are also
subordinated to the l\/layors decisions as this governing bodies ultimate policy maker.
ln the language of Mone//, it translates into the l\/iayor as a government official equally

responsible for the actions of this governing body's subordinates and actions.
THE HUBR|S OF lNDiFFERENCE

Despite a century of stare decisis rules and laws, or perhaps longer, Salt Lake’s constitutional
forms of depriving another's rights of speech have been prohibited with respect to equality
and speech in the public square. Despite this century of prohibitions against this
unconstitutionality, defendants continued their attack on the First and Fourteenth
Amendment rights of others.

Speal<ing directly to the Judiciary’s requirements for a plaintiff to cite salient, on point
precedents of law, as S. Ct. or lOtl‘ Circuit. Ct. rulings when bringing a cause of action-
citations speaking directly to the meat of a claim where the law is as the Plaintiff plainly

states? Plaintiff cites the recent case precedent of Knight First Amendment institute v. Trump

 

1 Monel/ v. Department of$ocial Serv., 436 U.S. 658 (1978)

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(1:17-cv-05205) whose case properties and characteristics are identical to the prohibited
actions of Salt Lake City's defendants,

24. Speaking to the judiciary again, what remains alarming about this case, that it continues to
shock the conscience -- are not that the actions of defendant Plane as a policy maker is

enforcing the communication department’s unconstitutional social media policy.

/t's that Plane and other defendants, upon information and beiief, were engaging in their own
concealed viewpoint-censorship of the plaintiff while intimately involved and on the periphery of

the Knight case at the time the Knight First Amendment Institute case was being Iitigated.

   
 

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Former Utah writer blocked by Trump an midst wins
Round 'i in court

 

 

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How is it Salt Lake defendants are both cheering from the periphery of the Knight v Trump
case while secretly hedging their own bets in their own 'above the law' censorship. its mixed
messaging about a faux equality and unwelcome exclusion by its leadership, its policy makers,
its city council and councilors? Welcome to Salt Lake.

in terms of plaintiff's exhaustive search for ‘administrative relief' at this governmental body
and policy makers prior to this suits summons, defendants were repeatedly asked to stop this
unequal unwelcome of identical censorship. These requests continued to fall fiat, without any
response or respite whatsoever.

While the State chapter of Utah's ACLU used establishment, media trumpeting a fair warning
to Utah’s leadership - neither the ACLU or the city-led by a former ACLU director-offered

one iota of assistance it’s a message of assistance and welcome |'ll never forget.

   

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ACLU of Utah »~ Da;a.’t Blaci<: Caastitueats on Sacial;
Med:ia,, ACLU af Utah Wa:tns Fadatal Dalegatian

“Becausa your social media pages are a public faram, stout awaiting of these
individuals la an unconstitutional restriction an their right ira free spea...

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28. Defendants were asked to stop committing these invalid actions, blocking him from the city's

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Facebooi< site; they'd been asked to stop the application of an unconstitutional social media
policy. Finally, l stood in front of the city council at a public city council meeting, stating l was
being blocked from having an equal voice. That request digitally captured on Salt Lake
Council’s circuit TV-was two months ago. is the hubris of indifference in this case-its
administrative response of empty slogans about inclusion from the council as a governmental
body of policy makers.

in terms of the hubris of these actions? The arrogant quality of these civil rights deprivations
as unconstitutional? These unconstitutional social media policies are the identical
characteristics in the Knight First Amendment institute v. Trump (1:17-cv~05205) case.

While the local Utah Chapter of Utah’s ACLU spewed warnings to their political foes via the
Salt Lake Tribune and the University of Utah’s KUER 90.1 Fl\/i, -Salt Lake’s governmental body
of policy makers continued to block plaintiff and others on designated public forums.

The scope of this ”blocking" reaches into multiple publicly elected city council districts. it
spans at two or more of the city's governmentally controlled, designated public poiicy,
forums. i\/iost ironically-the blocking occurred on the city's own ”Human Rights Commission".
The irony of that mixed-metaphor of equality is like a Fahrenheit 451 fire sale at its $742/sq
ft. main libraryl

Salt Lake City is sued because its social media policy is unconstitutional_because of this
hypocrisy-because of a patent, exhibited, custom of ignoring citizens’ complaints. if there

is any consensus between the plaintiff and these defendants whatsoever, it’s that they

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willingly choose deliberately to commit these acts of viewpoint censorship dating to on or
about October 23rd 2014,

Salt Lake’s social media policies as constituted, are illegal. They're discriminatory. They're
harmful to any function of democracy espousing an open, robust, accountable or transparent
government

Salt Lake is sued because it’s pride and indifference reflect a custom of ignoring a body of
errors and omissions being a suspended reality posing as legitimate ieadership.

Despite the ongoing fair warnings of this pop-cult ACLU -even as the lawsuit is filed today-
this governmental body has not stopped enforcing an unconstitutional social media policy.
it’s latest response was simply, 'good iuck’.

The indifference to others in violating these types of rights comes with a price tag-one
diminishing the value of resident's voices. it represents a dystopian welcome and creates
inequality in the city,

The price tag of blocking access of resident's engagement on public forums, is the denial to
speak like anyone else similarity situated in the city; it’s the dampening of one’s being. it’s
the dismissive platitudes about inclusion and equality. At the heart of it-- that others are not
allowed to hear another resident's voices over the drone of a forced political consensus;
This act of Blocking is an aggression against civil discourse. lt is an anathema to everything
the city and ACLU has paraded in Utah about a civil rights partnership protecting the rights of
the governed.

Salt Lake’s fundamental violations go to the core of one’s being. lsn't that the real message

here? A message about more legitimate chapters of the ACLU around the U.S. are putting

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out? Why then this reality disconnect in Salt Lake? its abject unicorn glittery failures? its
pop~cult consensus of acceptable casualties about a known failure on Equality? Yes, equality,
just not for a few residents here.
40. When unconstitutional social media policies are allowed, the personal bias of the policy
makers of a governmental body seep in as a discriminate against non-conforming viewpoints.
41. That bias as the act of blocking another's viewpoints acted as a custom to ignore others~an

openly practiced policy in this 'house of the people'.

This unequal treatment-this discrimination at the policy maker level - so visibly deprived
clearly established rights of equal and fair treatment to residents as similarity situated class

in Salt Lake.

42. This requirement of equality speaks directly to the Equal Protection Clause. lt's the part of
the Fourteenth amendment as it applies to the states under the incorporation Clause of the
same Fourteenth Amendment.

43. i\/iore importantly here? it’s what a trained attorney, a policy maker for a governmental body
as Salt Lake, should reasonably know on Plane's city salary of $241,790.812! if Plane didn't
know that, Plane's committed professional malpractice and Salt Lake needs to get a refund
and find a competent policy maker.

44. it’s what Plane, as a former policy maker for the Utah chapter of the ACLU did know,
definitively knew and embraced in each ACLU action and lawsuit backed and oversaw when

she represented to represent the rights of Americans~all of them!

 

2 https://www.sitrib.corn/rlews/r.)alitics/Z();iS/OS/ZZE?>/find»out~hc;)w»much»tha~top»~r);overnmerri:~4
empiayees-in~utahs~iargest-BO»citles-made~iast~vear/

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45. For a governmental body with such illustrious high-profile policy makers - policy makers
associated to the very periphery of a Trump lawsuit via one of the piaintiff's as a former Salt
Lake Tribune writer? This does not bode well indeed.

46. Salt Lake as a governmental body has instead, via these policy makers, continued in a pattern,
as a custom, meting out a a four (4) year sentence of exclusion and viewpoint-censorship as

unconstitutional because it could!

At what point does the judiciary Weigh in on the overwhelming magnitude of this
governmental body's indifference to another's rights? That anything less-just as in case

2:18-CV-00029 is to acquiesce to these bad actor's hubris and hypocrisy!

47. Shouldn't this be mentioned in this complaint to; to shine a light upon a policy maker's
$241,790.81 salary who green-lighted and advocated for and approved the deprivation of
clearly established rights? Especially in a this governmental bodies non-stop spew about its

‘we|come, inciusion, and equality?

[ intentionally blank]

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48. As evidencing herein, plaintiff submits how ”blocking” on the primary City Council Facebook
page appears, constituted at https://www.facebook.com/slcCouncil/ , as of 6 June 2018:

49. Note how there's no ability to make comments, or ”like” the policy or the comments of
others; or to interact in any manner suggestive of representative or participatory political
approvai, dissent or engagement on this designated public forum. Clearly viewpoint
censorship is alive and well at the Salt Lake City council as chaired by defendant l\/lendenhall.

50. Also note the council's remarks at the top of it’s own post-- boasting ”iots of public comment”,
though it clearly denies comment to the plaintiff -- a material fact established here - as a

similarly situated resident.

PDE¥S

§ Sait Lake City Council ...
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Recap ai ionighi*s Council Meeiing. Budget discussions hearings and
lois oi' pubiic comment

 

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RECAP: 6'5~1`8 SLC RDA Board and Council Meetings

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51. Another post by this governmental body's Council speaks to the bias and prejudice of
inequality to a veteran in a protected class. See the post of 5 June 2018 (below) where those
allowed to comment offer praises to defendant Chris Wharton. Yes, defendant Wharton--a

censorship superstar. Defendant Wharton censoring others as co-chair the city council.

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Most Reievant *

Jim Breitinger - i2:43 Chris Wliarionil¥ SLC superstar, t.:
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2. JURlSDlCT|ON AND VENUE

This Court has Federai Question jurisdiction over this action pursuant to 28 U.S. Code §§ 1331;
28 U.S. Code §§ 2201-2202; 28 U.S. Code § 1361; 28 U.S. Code 2403.

Venue is proper in this Court under 28 U.S. Code § 1391(b)(1) and (c)(1)(2). The events giving
rise to this claim occurred in the District of Utah, and each Defendant acted under color of

state law; and is sued in their official and individual capacities.

3. PLAlNT|FF

Plaintiff Aaron Johnson, aka Aaron Jones, is relevant to the Complaint as a resident of Salt
Lake City, Utah. Plaintiff's Facebook account is registered to Plaintiff under the name of the
complainant Plaintiff enjoys the permitted name change to 'Aaron Jones' by a widely
solicited and knowingly permissible FB poiicy, in effect, to Facebook's more than 2.2 billion
registered users.

i am a pro-se |itigant, where ”[T]he courts are established to administer justice, and you
cannot have justice if justice is constantly being thwarted and turned aside or delayed by a
iabyrinth of technicality.”3 This is pointedly what defendants reiy-an artifice of form
overcoming the administration of justice which the courts were established to administer.

This has been the essence of Salt Lake’s legal policy as a custom

 

3 Rules of Civil Procedure for the District Courts: Hearing on H.R. 8892 Before the House Comm.
on the Judiciary, 75th Cong., 3d Sess. 2 (1938) (statement of Homer Cummings, Att’y Gen of the
United States), quoted in Robert L. Carter, The Federai Rules of Civil Procedure as a Vindicator of
Civil Rights, 137 U. PA. L. REV. 2179, 2179 (1989).

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56. The Supreme Court has also affirmed, ”a pro se compiaint, however inartful/y pieaded, must

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be held to less stringent standards than formal pleadings drafted by /awyers.'”

R|CO NOT|CE et. seq.

Separately, Salt Lake as a government body is and has been committing R|CO predicate
offenses as § 274 (relating to bringing in and harboring certain aliens), § 277 (relating to aiding
or assisting certain aliens to enter the United States). These predicate offenses do not seek

litigation within this case.

4. DEFENDANTS

Defendant Jackie Biskupski is an elected official. She is the i\/iayor of Salt Lake City. She
controls all aspects of the city, including the city council Facebook site as moderated and
curated by Salt Lake’s city employees on the city payroll. Salt Lake’s city employees are
ultimately managed by the i\/layor. This includes the SLC communications department
employing Dan Wiest and his assistant, Amy.

a. The l\/iayor in her role, oversees the entirety of Salt Lake functions and agencies and
city employees The legal director for Salt Lake, is an appointed position.

b. City employees e.g., Salt Lake’s legal department director, Salt Lake’s public works
director, Salt Lake’s Chief of Police, etc., are appointed positions. The appointment of
these positions is at the discretion and authority of Salt iake's mayor. Appointees as
employees serve at the direction and discretion of the Salt Lake mayor as the final

policy maker of this governmental body.

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c. Official and individual actions of this governmental bodies employees, concerning the
city council communications staff and Facebook page, remain under the final direction
and discretion, through city employment, with Salt Lake City and not the counsel.

d. Thus, the final policy ofany decision remains answerable to the i\iiayor whose ultimate
supervisory control usurps that of defendant Plane.

e. For liability to attach to a supervisor, the subordinate’s misconduct must occur at the

supervisor's direction or with the supervisor's knowledge and consent.

Biskupski as the top Supervisor knows of and knew-consistently--of the

subordinate’s misconduct and continued to facilitate, too approve, too condone, and

ultimately - failed to act. The mayor had turned a blind eye toward the civil rights
depriving policies being supervised by the policy maker of Salt Lake’s legal department
as it related to the social media policies carried out under Communications Director,

Dan Wiest and Amy Farmer. See - Gentry v. Duckworth, 65 F.3d 555 (7th Cir. 1995).

g. A city employee’s decision to ”block” others (SLC's communications department past
or current employees) on the city council Facebook page-is ultimately at the decision
of an official with final policy-making authority as the l\/layor and those the mayor
supervises such as Plane as the legal policy maker for this governmental body.

h. The discretion to block people using this social media policy as challenged, was the

decision of l\/largaret Plane as this governmental bodies legal department’s director

and, who's final decision-making authority for those policies is the i\/iayor.

These under color of state law actions are an extension of the l\/iayor's position and

authority by virtue of her city employees' actions.

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These actions ultimately controlled by the i\/iayor herse|f, are demonstrative of the
mayor's scope of authority at ali times. And it is the mayor's exercising a finality of
oversight and supervisory control over all those she has appointed to administer any
department or division and more definitively-authority over each specific employee
of the city.

Wiest and his assistant, Amy, are employees of SLC - not employees of the city
council. The city council's budget and revenues are derived from the city as the
governmental body here. Salt Lake City employment is funded from Salt Lake City's
budget as a general expenditure in creating Salt Lake City's payroll.

The City Council public Facebook forum is at all times, administered by city employees
on the city payroll; the administration of the city's primary council Facebooi< pages is
by and through SLC's general expenditure toward the administration of the city
council Facebook page, Though the communications team of Fowler and Wiest
believe they work for the city council-they are paid by the city as the governmental

body.

. Each Salt Lake City public sector employee used in the deployment of SLC policies

curating, moderating or administering the city council Facebook page-has limited
subordinate government control. Their decisions meet with the supervision of
defendant Plane as the final legal policy maker and defendant lVlendehall secondari|y.
As allowable and enforceable under the overarching and supervisory direction and

oversight of this governmental body-it is the appointed legal department Director,

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l\/iargaret Plane, serving at the discretion of the City i\/iayor's in the capacity as a policy
maker function for this government body;

n. Defendant Biskupski has since the time she took office, been critically aware of
Defendant Planes actions to deprive the plaintiff of free speech and defendant Planes
actions to cover up a conspiratorial action committed by the Salt Lake City Police
under former Chief Burbank and SLCPD general Counsel, i\/ir. Robinson.

o. That matter is mentioned in iitigation, case 2:18-CV-00029 and is sperate and apart
from this action.

58. Defendant Margaret Plane: Owing to defendant Plane's prior employment and association
to the Utah ACLU as its former state director, defendant Plane is perhaps the most prominent
plaintiff in this case concerning any conspiracy to deprive the plaintiff of his civil rights. Plane
is also central to the cover up a conspiratorial action committed by the Salt Lake City Police
under former Chief Burbank and SLCPD general Counsel, l\/lr. Robinson. That is not at issue
here or being litigated inside this case.

a. Defendant Plane, for the purposes of Mone/l4, is Salt Lake’s top legal
Advisor/Supervisor and knows of, and knew of consistentiy, her subordinate’s actions
as it related to the use of an unconstitutional social media policy.

b. Plane continued to facilitate, too approve, too condone, and failed to intervene an
ongoing civil rights deprivation initiated as early as October 23rd, 2014.

c. Planes as a policy maker as related to the social media policies carried out under the

council's Communications department, See - Gentry v. Duckworth, 65 F.3d 555 (7th

 

4 i\/ionell v. Department of Social Services of the City of New York, 436 U.S. 658 (1978);
20

 

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Cir. 1995) had supervisory authority for any action taken which would create a legal
liability for this governmental body.

d. Plane's active use of other municipal polices in her office and by her authority-
allowed the rights violations to occur and to continue since on or about October 23,
2014, The length of time as a practice and custom, became a policy of deprivation in
acquiescence of an unconstitutional social media policy.

e. Plane, acting as the legal director for this governmental body, was formerly the Utah
ACLU director. Plane possesses and had possessed at the time of these deprivations
of rights described herein-has a sufficient understanding of the violative nature of
her actions and omissions in deprivation of clearly established rights of ’Free Speech'
enumerated under the First Amendment's Free Exercise Clause and, enforced to the
states under the incorporation Doctrine of the Fourteenth Amendment.

f. As a matter of law to defendants on supervisory liability claims detailing to this
judiciary that Plane ”[t]o be liable in this situation, a supervisor must have been
involved personaiiy, meaning through personal direction or actual knowledge and
acquiescence in the wrongs aileged”; Reedy v. Evanson, 615 F.3d 197, 231 (3d Cir.
2010) (applying the framework set by Baker v. i\iionroe Tp., 50 F.3d 1186 (3d Cir.
1995),

g. This is exactly the case with Plane-she oversees the finality of Salt iake's
communication director's decision of blocking others. Plane is personally aware of

the blocking and the final action of blocking takes place under supervisory control and

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acquiescence of the implementation of Salt iake's invalid, unconstitutional social
media policies as applied to the plaintiff.

h. Plane's actions in this cause of action, additional|y, as a conspiracy to deprive-and
involve at least five other actors and more than one institution.

i. R|CO styled deprivation of rights being ‘Predicate Offenses" not litigated here.

j. These predicate offenses are outlined in § 1511 (relating to the obstruction of State
or local law enforcement), § 1512 (relating to tampering with a witness, victim, or an
informant), § 1513 (relating to retaliating against a witness, victim, or an informant),
These are the subiect matter seeking a writ of mandamus in case 2:18-CV-00029 - not
litigated within this case,

k. Plane, in that earlier ACLU capacity, was made aware of an ACLU complaint about
SLCPD officers concerning a physical injury sustained by the plaintiff on December 20,
2010. This injury and Plane's knowledge of it while the ACLU director-via the
complaint made to her ACLU-carried over as a bias and discrimination into the office
of the Salt Lake legal department with [RiCO] 8 U.S. Code § 1961 predicate offenses
as a political subdivision of the state.

l. This will be described at length in the attached Fed. R. Civ. P. Rule 21 petition seeking
a Writ of i\/iandamus pursuant 28 U.S. Code § 1361 in case 2:18-CV-00029.

59. Defendant Ra|ph Becker was the former Salt Lake City i\/layor. Defendant Becker was the
mayor at the time the unconstitutional social media policy was used on or about October

23rd, 2018.

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60. Defendant Erin Mendenha|| is a city councilor for District Five (5). i\/iendenhall is also the
acting chair of the city council, overseeing and speaking for the actions and the policies
adopted by the city council. i\/lendenhall presides over the city council meetings and weekly
work sessions.

a. As the District 5 councilwoman, she is a refreshing dose of suspended reality in the
accountability aspect of this governmental body. i\/iendenhall, who had previously
blocked others on her own council Facebook page with respect to accountability in
office - l\/iendenhall who chairs the city council - had blocked others with respect to
her accountability while in office as it directly related to headline news in Utah’s
establishment media.

b. After i\/iendenhali had outed herself and another city counciior to Utah’s
establishment i\/ledia the Salt Lake City Triune, and alternative media the City Weekly,
about a very substantial issue on public accountability while in office. This
accountability issue was widely reported in the Salt Lake Tribune and City Weekly. in
an article entitled, ”Romantic relationship between Salt Lake City Council members
raises concerns”, 5 portions of that public article were posted to lVlendehall social
media page used to promote her office and candidacy. lt provided excerpts from
media she had participated in as widely reported factual information-wideiy

publicized and available stiil.

 

5 http://archive.sltrib.com/article.php?id=1876741&itype=Cl\/lSlD (November 28, 2014)
23

 

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C.

The excerpt was ”engaged in an affair and traveled together to Minneapo/is, il/iinn.,
in September on city business"S. This led to defendant i\/lendenhall keeping the city
council ban in place and banning participation on her own public space.

Yes, despite a wide array of world media criticizing the U.S. President about this
Stormy Danie|s issue-posting to multiple official sites operated by the government
across every social media platform--Salt Lake’s own Stormy-iViendenhail fandango--to
which anyone may post about, involved incumbent iViendenhail who was re-elected
in 2017 over challenger and former Navai officer, George Chapman, by an
overwhelming margin.

i\/iendenhal| who exercises wide influence in the role of city council chair, is rumored
to seek the position of l\/layor in 2020.

A|l comments made on her site~as in two--resulted in a continued ban, still active
on the overall city council primary site which iViendenhail chairs, with Wharton as co-
chair. These statements made on these pubic sites are protected under the first

amendment as they relate directly to the discussion of politics.

61. Public Official District 3 councilman, Christopher Wharton: After Wharton posted to social

media, about the Parkiand Shooting, Wharton, while espousing his own rights of protected

speech and assembly of his own.

62. Wharton then blocked others from commenting on his posts. Wharton, a 7th generation

Utahan, and reported local civil rights attorney-is blocking others from participation on his

publicly designated Facebook pages WH|LE the Trump/Twitter lawsuit was litigated.

 

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Defendant Derek Kitchen, Public Official District 4 councilman: Kitchen became a public
official after prevailing on Utah’s landmark marriage equality case, in the 10th District against
the state of Utah (see Kitchen V. Herbert).

Defendant as former city counciior and RDA chair, Stan Penfold: Penfoids blocking actions

occurred prior to leaving office, The exact date is not available until discovery is commenced.

5. FACTUAL ALLEGATlONS

Blocking another's free exercise of speech on designated public forums, where the rules of
engagement and invitation have been established by the forum, yet not respected, deprive
another's clearly established rights. That is the precedent of law as the take away from the
most recent (i\/iay 23d 2018) Knight v. Trqu case.

That the governmental body and its policy makers and its elected officials had done so ‘under

color of state iaw', created this cause of action as a civil rights action.

.That the civil rights act(s) exist to vindicate a violation of one’s civil rights by those acting

under color of law statute that these statutes act as a mechanism, enforceable under that
mechanism as 42 U.S. Code § 1983.

That the governmental body of Salt Lake continues to violate the piaintiff's rights. Doesn't
that alone speak to the conscious and deliberate action of a governmental body reflective of
both its administration and its policy makers e.g., defendant Plane, defendant Biskupski? lt
does

it’s reflected as the quality of elected officials character in office.

a. city council chair and defendant iViendenhail-5th district,

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b. city counci|or defendant Derek Kitchen-4th District,

c. city council co-chair and defendant Wharton-3rd District,

d. former city councilor and RDA chair Stan Penfo|d-B"Jl District and

e. former city I\/iayor, Ra|ph Becker.
Despite the funny, loveable jovia| public personalities--the reality of censorship isn't so
funny. Defendant’s engaged in unconstitutional actions. Their behaviors were invalid. Despite
the unconscionable make-up of their practice and custom to block others, it was approved
because of a policy by another policy maker as former i\/layor Ra|ph Becker when it originally
began.
These actions initiated on the city council page-these invalid behaviors beginning under
defendant Becker, then continued as a policy, a practice and a custom (i\/ionell) under a new
i\/layor, defendant Biskupski. The lynch pin in both former and current mayors as defendants
- is defendant Plane.
it means that Plane, as the legal director ofthis governmental body, oversaw the abridgement
of what are clearly established rights of speech and equal treatment to a citizen of Salt Lake.
That these clearly established rights that were violated during two separate mayor's terms,
are the rights enumerated and clearly established in the First Amendment's as the Free
Exercise Ciause, and the Fourteenth Amendment's Due Process and Equal Protection clauses.
That Plane, a former Utah chapter ACLU director as Salt Lake’s legal policy maker, understood
that these clearly established rights, those speech and equality, are enforceable to the states

through the lncorporation clause of the Fourteenth Amendment. That Plane probably knew

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about the incorporation Clause of 1940; that is was a precedent of the S. Ct.7 often cited in
ACLU casework seeking to vindicate the rights of Americans in each of the 50 states.

That because of the structure of 42 U.S. Code § 1983, along with Monei/, this action arises
out of defendants' known, and admitted'g, actions of blocking which created a deprivation of
'ordered interests in /iberty' cemented in the U.S. Constitution's incorporation of the Bill of
Rights.

As this claim relates to Salt Lake’s social media policy censoring the free exercise of political
speech, political engagement on a public forum, and political participation - Salt Lake as a
practice had deliberately, for four years, used a social media policy to withhold ALL access to
the city's Facebook pages.

That this governmental bodies social media policy -- a policy making/makers practices
speaking to i\/ionell -- had translated into a four-year custom of the same policy restrictions
adopted by other defendants in this case such as Wharton, Penfold, Kitchen and i\/lendenhall.
That defendant(s) Plane, Becker and Wharton-who are licensed attorneys--reasonabiy
understood that claims concerning speech and engagement if made to the governmental
body as the city--would naturally ”arise under” ’coior of state iaw' action as a claim of

censorship and equal protection.

 

7 Cantwel/ v. Connecticut 310 U.S. 296 (1940)

8 Communications Director, Dan Wiest, confirmed on lune 4th 2018, that Plaintiff as Aaron
Jones had been blocked on or about October 23“d, 2014-yet believed he had been initially
blocked much earlier than that date.

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That these claims as constituted to this governing body and its policy makers, could only be
legitimately made as a constitutional claim as a federal question as to the violation of the
piaintiff's rights.

That such claims under Fed. R. Civ. P. 8(a) are claims that contour a clearly established right
of Speech where the focus is on ”whether the violative nature of particular conduct is clearly
established."' B_ela, 817 F.3d at 1204 (quoting Mullenix v. Luna, 136 U.S. 305, 308 (2015)).|f
anyone clearly understood this most of all-it is defendant Plane.

defendant Plane engaged in these exact types of ”ciear|y established rights" claims that arise
specifically as constitutional ciaims. Plane would know, emphatically, that as a former policy
maker for the ACLU before becoming the policy maker for the governmental body of Salt Lake
City - she had as a routine custom and practice as an ACLU policy maker-brought the same
quality of constitutional case. That as the current policy maker for Salt Lal<e_she now
defends the city against these exact types of claims as they relate to the language of on point
10th circuit requirements under Mulienix v. Luna, 136 U.S. 305, 308 (2015)!

Salt Lake’s social media was unconstitutional as applied on or about October 23, 2018. it

remains unconstitutional today.

.This social media policy is still consciously used, today, by the city council. After four years of

usage, a policy becomes an established practice. As an established practice and under the
direction and supervision of its legal department’s director as the policy maker who kept this
blocking in place for four years-the practice became customary to dismiss complaints about
its four-year usage. it became a justification to continue the unconstitutional behavior of the

governmental body and its elected leadership. its practices, its customs of bias and

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discrimination-had become another policy-alongside the originating unconstitutional
social media policy of this governing body.

84. Salt Lake City councilors as a customary practice, have since defendant Penfold, robustly
employed this invalid policy used to deprive Plaintiff's ”life, iiberty, or property, without due
process of iaw".

85. The liberty withheld violated a clearly established right of speech. The violation of speech
as revoked, had then ten violated the Equal Protection Clause of the Fourteenth
amendment - as a direct causality linked to Salt Lake’s ongoing support of this illegal social

media policy.

SALT LAKE'S Ul\lV\/ELCOl\/lE EXCLUS|ON

Salt Lake’s unconstitutional social media policy is a deliberate weapon of inequality as applied

to Plaintiff which had begun on or about October 23rd, 2014 on the City Council site,

86. if at any moment, plaintiff had brought a complaint of equal accommodation to this city, one
based on bias-each ofthese defendants would have immediately escalated such a complaint
for resolution.

87. Yet when the nature of the complaint was not of the quality or character of the city's current
cause-celeb rights pushed as policy and practice by this government body and its policy
makers-defendants became tone deaf and entirely dismissive as those fundamental

established rights didn't rise to a level of sufficiency needing equal protection.

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BUT-FOR SPEECH RETAL|ATION AS POL|TICAL BlAS

Salt Lake’s socially oriented media bias, in the Trump era-is a known ”Thing". lt appears
ubiquitously in each of its supporter's social media, ubiquitously in supporting media such as
the tribune, appears in the Tribune and other supportive media as it relates to the ACLU-
but mostly-appears on the sites of those like these city councilors who used bias and
prejudice as a practice here to retaliate against another's viewpoint.

When the Florida, Parkiand shooting happened-it was the ACLU who organized the
#marchforourlives event at the West High. Plaintiff's councilor was there. After that march,
held i\/larch 24lh, 2018, defendant Wharton posted the pictured of the that march,

Plaintiff on l\/iarch 24th 2018, commented on Wharton’s site. it wasn’t in support for, or in
opposition, to Wharton’s comments.

The comments were just political criticism about the city's ongoing censorship--in. i\/ly

comments had been deleted and blocked from about i\/iarch 24th, 2018 forward.

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94. Salt Lake’s socially oriented media bias, in the Trump era_is a known ”Thing". it appears
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Karen Dary"
'So proud of'SLC 01

 

on Sat Lii<e Reply i\ilore

Aaron Jones

Blah biah blah, more laugh track. it’s our third district
Messiah from the pretentiousness of his dayjob as
a civil rightscanardinthe same third district,

 

Here's a thought7 give,your facade'of Facebook
i\iiessiaha much needed laughtrack, Chris Wharton.
From a queen sized denied equity of voioe'and
access to non supporters, too this city's

administration as the tabioi_d shit sandwich '
machinery ofour age; `

4 © l

Figure lhttps://www.facebook. com/ChrisWharton$LC/

Screen shot before comments were deleted and access biocked.

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98. Now imagine if instead, i was the Utah Attorney Genera|, Sean D. Reyes. And i posted a
comment about gun ownership, or a picture of me holding an assault styled rifle. Would
Wharton have banned Sean Reyes? Yet Wharton as my direct councilman for District, had
both deleted my comments and blocked me that day. l hadn’t talked of guns, let alone ever
posted a picture of an assault styled rifle-yet Wharton’s indifference to the protected nature

of political speech-viewpoint-resulted in censorship on l\/larch 24th, 2018.

 

Sean iii Reyea

 

P'roiiie Pictures - aep ti, zui'i'"~

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99. By subjecting speech to review and censorship based on such a vicarious illusion of action as
”FB policy”, in the most expansive terms, Defendants' Social i\/ledia Policy stifled robust
debate and disregarded the ”profound national commitment to the principle that debate on
public issues should be uninhibited, robust, and wide open." M, 376 U.S. at 270.

100. Furthermore, the Social l\/ledia Policy impermissibly imposes ”special prohibitions on
those speakers who express views on disfavored suhjects," namely those whose opinions are
believed to be ”inappropriate” or ”critical of directors or agency policies they called bullying
and harassing" where such machinations belie a weakness of public character(s) who ”lose
sight of the fact that, in what otherwise might seem a trifling and annoying instance of
individual distasteful abuse of a privilege, these fundamental societal values are truly

implicated.” - Winters v. New York 333 U. S. 507, 333 U. S. 528 (1948).

 

101. A law that discriminates based on viewpoint is an ”egregious form of content
discrimination,” which is "presumptively unconstitutional." Rosenberger, 515 U.S. at 829-30.

102. To permit the government ”to pick and choose among the views it is willing to have
discussed” in a public forum represents ”censorship in a most odious form, unconstitutional
under the First and Fourteenth Amendments.” Police Dep't of Chicago v. l\/ioslev, 408 U.S.
92, 98 (1972)

103. These acts of censorship are a not-so-veiledform of exclusion. They by intent, callously
denied equality in Salt Lake as a practice and custom in this case while promoting equality
and inclusion for others and-because ofthe duration as four long years-knowingly excludes

others, Salt Lake and its council as constituted, is as a custom, using the tool of political

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consensus. it’s a practice discriminating against the viewpoints of othersl Wharton is a prime
example.

104. This form of consensus-discrimination in Salt Lake is affecting far more than this plaintiff.
lt stifles equality as a broader characteristic of protection; it denies opportunity; it muffles
the 'sameness’ of engagement and removes access to its leadership, the council and

ultimately the resources and support of this city.

Salt Lake City Council ’" ,
May 31 al "i?:;iilpm ' us

 

On behalf of the Councii, \fice Chair Chris Wharion was proud to recently
' accept inc Harvey Miik Civil Rignts Awarci {anci a bust of H. iviiiki} along with
the ivlayor and Equailiy Utah from the international imperial Court Council.

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Fi> Share § v

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105. When Wharton uses his public space to deride the office of others-calling their
administrations, ”toxic public policy", or ”unprecedented overreach” - how is it Wharton

does not self-censor his own speech as he has censored others?

Counciimember Chris Wharton shared a post »- Hconiacting '“
` Goverrior Gary Herberi.

March iii ~ §§
'i'ake 5 minutes to heirs defend our city from toxic pubiic policy and
unprecedented overreach. Cail Govarriar Herberi and tell him to veto 86
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Salt take City Councii
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Gary Herbert
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106. The unconstitutional social media policies used by Wharton in use by this governmental
body as constituted, routinely retaliated against another's viewpoint. The custom on their
social media sites has been to delete comments and to block them - limiting their speech and
participation on the city's designated city public commons--though allowing their own

criticism and political viewpoints to dominate.

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107. How does Salt Lake’s palpable hypocrisy in this case pretend to celebrate the fundamental
rights of one class of residents~- while denying the fundamental rights Of others? lt's

application of 'equality here is a sham. lt is a diminished equity.

Ghristopnerwnarton updated bia cever phote. ‘"
Mey 16 at dz§?;pm ~ §§

 

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EQUALITY - NOT SO MUCH lN SALT LAKE C|TY

108. The evidence ofthis lopsided faux equality is overwhelming-including expenditures from

the governmental body's general fund engaging in seeking the equality of others outside the

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geographical domain of Salt Lake itself. Evidently the disconnect of this governmental body
has overlooked the issue of equality of sameness right here in the cityl

109. This disconnect is a failure to protect residents already clearly established rights ofspeech
and due process as the form of ”equality" left out to those funding and electing these ”city
officia|s”.

110. | fully embrace the equality of all citizens; each fundamental right. How did speech and
political engagement as fundamental elements of clearly established rights become so

forgotten and boring in Salt Lake?
|NVALlD, UNCONST|TUT|ONAL SOC|AL IVlEDlA POL|C|ES

111. By the practice and customs of how an unconstitutional social media was used to block
this plaintiff-these defendants placed themselves above the law to which others are being
held.

112. This policy allowed a customary practice manifesting viewpoint censorship.

113. The policy usage manifest as a practice of dismissing the prejudice of removing another's
voice from the pubic square.

114. The policy underlies a continued illegal custom and practice as an activity that is
prohibited in more than a century of laws concerning free speech activity. l\/lost recently as
touted here, the 2"°l District Federai Court’s lVlay 23rd, 2018 created precedent citing that no

government official is above the law in prohibiting the rights of speech as applied here.

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EQUAL|TY? FOR WHOl\/l?

115. lnc|usion? Equality? Equity? Freedom of speech-that's been a radio static relay-station
whose exclusion has been applied as a ”socia| media policy” instead of policy makers sworn

duty to the precepts of a U.S. constitution and Bill of Rights.

The 'for whom’ is an over-zealous campaign, using city employees and ordinances to

discriminate openly, favoring Salt Lake’s latest line up of cause-celebs.

116. ”The viewpoint-based exclusion of the individual plaintiffs from that designated public
forum is proscribed by the First Amendment and cannot be justified by the President's
personal First Amendment interests"9

117. This active suppression of voice, its Truman-Show like reality disconnect, is formulaic of
bias and prejudice. |t's the policy that created a custom of allowed bias. The custom became
the practice of employing an unconstitutional policy. lt was practiced over four years in the
customary justification to suppress the ’sarne-ness of a same-set quality of rights’ for this
resident in Salt Lake.

118. As a resident speaking of 'sameness’ as equality, the policy discriminated against that
'sameness’ of rights which other similarity situated residents in the same class of residents

were not denied.

 

9 Knight First Amendment Institute v. Trump (1:17~cv-05205), [doc 72] l\/lemorandum & Order,
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119. Speech suppression is a known weapon of retaliation. Discrimination is a retaliation
against those whose political speech does not conform to the 'self-same regurgitation’ of
these defendants pushed political viewpoints.

120. Their leadership and behavior, as constituted, is inimical to democracy as practiced in Salt

Lake City.

§ ii Litced~r 7 ;\`\Fottowingv ad Share ` w §

§ Aaron Jones€ ls that your rationale for cheapening the

established Rights of others, All your rhetoric doesn't change the
balance of denied rights by your council and legal administration
Who the hell are you kidding, Jackiel '

The tstAmendment’s Free Exercise C... See t».tore 7
take nepa ' art eaton o 3

    

7 7 ": , ~ Clyde Peck Trujilio@ That's a lot of words for not making

Mayor Jack'e o a clear point on who you think is being denied rights and

Biskupski o _ , 7 excluded Please clarify Otherwise you’re just spouting off
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Evems ~ Becky Bradley 6 "the bias of elected leadership publicly
~ : v ` , , , _r \ » paradan the namesake of civil rights for some, as it openly
quos ' defends a diminished equity of citizenship to others,"

, instagrarn feed 7 : 7 ' Please elaborate on what "others" you are referring to.
posts ' " ' ute ' nepa ~ 3a '

121. When Plaintiff's free speech had initially arrive on these designated public forums, the
very nature and quality of what is protected political speech as criticism and dissent- resulted

in blocking.

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122. lt's defendants use of a social media policies green-lighted' by a governmental body's
policy maker which violated clearly protected rights of speech, e.g., the Free Exercise Clause
of the First Amendment.

123. Despite plaintiff's campaign to educate other city members and the l\/|ayor directly on her
own social media site -- a clear and present 'Fair Warning” of a civil rights deprivation by the
city, those supporting the mayor and council instead respond with a 'like~minded consensus'
supporting the city's censorship of others; Defendants excluded- ”b|ocked”-plaintiff as a
user after he openly criticized the council, its policies and its leadership. See the mayors

Facebook page as it is constituted at: https://www.facebook.com/mayorbiskupski/

124. The Salt Lake City (SLC) Council operates a number of social media accounts as 'Facebook
Pages’. These main internal Facebook pages of the City Council itself, is an important source
of news, information, planning, policy and direction concerning SLC government lt is a
government owned public forum designated for speech by, to, and about SLC, its council and
council members.

125. The city council and councilors--and other city pages have excluded plaintiff's voice and
participation -it is ”b|ocked”- as a Facebook user after openly criticizing the council and its
policies.

126. The interactive space associated with each of the defendant's forums is not government
speech and is therefore properly analyzed under the Supreme Court's forum precedents of

Cornelius.

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127. Ultimate|y, the delineation of a Facebook thread's interactive space as the putative forum
is consistent with the Supreme Court's directive to ”focus[] on the access sought by the
speaker" see Cornelius, 473 U.S. at 801.

128. When a user is blocked, the most significant impediment is the ability to directly interact
with a post's thread to the blocking user and the entire forum.

129. The public property of the city's Council and Human Rights Facebook forums. The City has
opened for use by the public as a place for expressive activity.” Perry Educ. Ass’n, 460 U.S. at
45. ”To create a forum of this type, the government must intend to make the property
'generally availab|e,’ to a class of speakers." Forbes, 523 U.S. at 678 (citations omitted)
(quoting Widmar, 454 U.S. at 264).

130. The Defendants Facebook followers who are not blocked -as an act of viewpoint
censorship -- enjoy a higher standard of the city's 'inclusions' and 'equality’ by the city council
and its councilors.

131. This 'viewpoint-inclusion' is a 'sameness of situated persons' in reference to the
Fourteenth amendment Equal Protection Clause as it relates to ’same’ access and ’same’
participation on these Facebook forums.

132. Plaintif 's 'viewpoint-equality' is being denied contra the Equal Protection clause of the
fourteenth amendment - as it applies to the Free Exercise Clause of the First Amendment--
as an injury in fact. This injury in fact arises under Federa| Question jurisdiction concerning

this case's controversy requirements $po/<eo, lnc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

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133. These specific counselors Facebook forums, and other city Facebook forums moderated
and curated by city employees, i.e., Salt Lake’s 'Human Rights Commissions and Office of
Diversity' are also being blocked,

134. The blocking removes all participating as '|iking' and ‘commenting’. The blocking is by
action of policy maker oversight and control by direction of SLC's legal Director, l\/largaret
Plane; and ultimately this supervisory control resides with l\/|ayor Biskupski.

135. These forums are also government owned, acting as public forums for the purpose of
discussing SLC policies and politics.

136. The Supreme Court recognized social media platforms like Facebook and Twitter provide
”perhaps the most powerful mechanisms available to a private citizen to make his or her voice
heard." Pacl<ingham v. North Carolina, slip op. at 8, 582 U.S. ____ (2017). These platforms
have been ”revo|ution[aryj,” not least because they have transformed civic engagement by
allowing elected officials to communicate instantaneously and directly with their
constituents Elected leaders and city administrations ”in all 50 States and almost every
l\/lember of Congress have set up [Facebook] accounts for this purpose,” id. at 5, allowing
citizens to "petition their elected representatives and otherwise engage with them in a direct
manner," id. at 8. Facebook enables ordinary citizens to speak directly to public officials and
to listen to and debate others about public issues, in much the same way they could if they
were gathered on a sidewalk or in a public park, or at a city council meeting or town hall.

137. Because of the way the SLC council and councilors and their aides use these forums, the

account is a public forum under the First Amendment.

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138. This case requires us to consider whether a public official may, consistent with the First
Amendment, ”block" a person from their Facebook account in response to the political views
that person has expressed.

139. Defendants have made the account accessible to all, taking advantage of Facebook's
interactive platform to directly engage the city council and councilors followers. The city
council and councilors 'posts' routinely generate comments in the vibrant discussion forums
associated with each of the posts. Further, Defendants have promoted the SLC city council
and councilor(s) account(s) as a key channel for official communication Defendants use the
account to make formal announcements, defend the l\/|ayor and council's official actions,
report on city meetings with other city and state leaders, and promote their administration’s
positions on health care, immigration, foreign affairs, equality, gun issues, and other matters.
The SLC city council and councilor(s) posts from these accounts are ”official statements,” and
they have been treated as such by SLC residents, its administration, other politicians, leaders,
and its Records Administration for the purposes of state GRAl\/lA requests.

140. The designation of a forum as 'public’ concerns this case as precedent recently, on |\/lay
23rd, 2018, established as a controlling precedent. This on point Federal precedent was
entered in [doc 72] as a i\/lemorandum and Order ofJudge Naomi Buchwald10 as it concerned
the designations of public forums and constitutional law of protected political speech on

public forums referenced in the Trump/Twitter |awsuit.

 

1° United States District Court Southern District Of New York, Case 1:17-cv-05205-NRB

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141. These SLC public forums invite and encourage Salt Lake residents to engage on these
forums -- a democratic participation of public speech - a clearly established form of protected
speech each of these defendants violated.

142. Plaintiff was blocked on the city council Facebook page on October 23rd, 2014.

143. The City Council Facebook page, as constituted, resides at
https;//www.facebook.com/slc€ouncil/.

144. Protected political speech is a clearly established right to all citizens in the United States
as applied to Salt Lake City-they are clearly established rights~commonly known in Salt
Lake ”equality of voice, equality of access and equality of participation” civil rights campaigns
clearly protected for city residents,

145. Salt Lake has stablished an uber class of protected rights to others by virtue of bias; yet
correspondingly has denied the same to plaintiff and others excluded by this Uber-class of
protected rights contra an equal class of these same rights protected by the federal
government regardless of a governmental body's biases.

146. Salt Lake City continues to comport itself, unconstitutionally, as an island under the
direction of Plane and Biskupski.

147. The Bill of Rights as applied to the states under the incorporation Doctrine and, as
incorporated "arising under" the U.S. Constitution, give rise to this action to vindicate a set
of equal civil rights to this plaintiff binding upon the City of Salt Lake under stare decisis
precedents of law numerously cited within this complaint.

148. These rights denied by Salt Lake’s l\/Iayor, its legal department, its city council and

councilors-are the rights-regardless of race, sex, creed_or sexual orientation--to engage

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in a democratic-styled participation on government-controlled forums using one’s freedoms
of speech. These rights denied by Salt Lake City are clearly established rights, pointedly known
to Salt Lake’s city's legal director and i\/layor.

149. This City's practices are patently unconstitutional and should shock one’s conscience in
view of the platitudes of this city's administration. This suit seeks to end what are offensive
in nature, shocking to the conscience as retaliation. They are an unwelcome discrimination in
the United States.

150. Defendants acted out an in-accountability to both equity and justice; robustly defending
under its social media polices a complete indifference to SCOTUS precedents as 'on point’
case precedents acting as law concerning what are clearly-established rights; rights
guaranteed and protected and enforceable as the First Amendment via the incorporation
Doctrine.

151. Defendants violations continue to contour the same bravado foundational of this case
and, despite receiving 'fair warning’ as a UCA 63g-7-401 recorded in the Salt Lake City
recorder's office_and dozens of attempts to resolve these issues without litigation-Salt lake
City has dodged each dutifully provided civil notice of intent as a ‘fair warning' to cease these,
and other known, violations these same defendants are indifferent to with the hubris of a ”so
sue us" mentality at tax payer expense.

152. in summation of this introduction section, Defendant’s invitation to participate on these
Facebook forums, effective via invitation, solicitation, had knowingly designated these
forums as ”designated public forums" e.g., the Packingham/Reno public commons today as

"the most important places for the exchange of views... is cyberspace and social media in

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particular." Packingham v. North Carolina, 137 S. Ct. at 1735 (internal citation omitted); See
also Reno v. American Civil Liberties Union, 521 U.S. 844, 868 (1997) (acknow|edging the ”vast
democratic forums of the Internet").

153. Defendants actions of censorship cannot be buttressed by a defense, in their own coming
Rule 8 affirmative admissions construed under a prolixity of either ”Facebook policy" or ”Sait
Lake social media policy" which the Facebook Corporation did not undertake.

154. Censorship here, as a clearly stated short and simple statement of violation of a clearly
established right is supported by Justice Black in Mil/s v. State of Alabama, 384 U.S. 214

(1966),

”Whatever differences may exist about interpretations of the First Amendment,
there is practically universal agreement that a major purpose of that Amendment

was to protect the free discussion of governmental affairs."

155. Plaintiff respectfully asks this judiciary to declare Salt Lake City's social media policies and
practices are a viewpoint~based exclusion of the Plaintiff's right of speech; that this violation
of the First and Fourteenth amendments is unconstitutional; that viewpoint censorship as
constituted on these forums, had arrived as a form of bias and discrimination in violation of
28 U.S.C. § 1981, and order the Defendants to provide restitution for these violations of
clearly established rights and to restore access immediately.

156. Under l\/ionel/ v. Department of Social Serv., 436 U.S. 658 (1978), a municipal government
can be held liable under Section 1983 if a plaintiff can demonstrate that a deprivation of a

federal right occurred as a result of a "po/icy" of the local government's legislative body or of

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those local officials whose acts may fairly be said to be those of the municipality. That policy
is Salt Lake’s social media policy used to block the Plaintiff.
157. The federal question to this judiciary, on Salt Lake City's censorship, is concise as it relates

to an invalid social media policy creating a viewpoint~censorship cause of action:

Why is Salt Lake City's privilege and bias allowable-speciaI-- above the law - especially
its evidenced hypocrisy depriving the civil rights of some while nonstop parading a
much-heralded theme of welcome and inclusion? lts social media policy suggests

otherwise.

158. This hubris against pro-se litigants manifest here, continues to deny every accountability
to a rule of equity and law and the US constitution--specifically to its citizens-and discounts
law and equity under an attack in this court against pro-se litigants, ”seeking remedies for
harmful discriminatory conduct, too vindicate civil rights enumerated by congress in
obtaining protection against prospective harm of this kind."

159. The Salt Lake City Council as an ’entity' representing this city, its associated City Councilors
own personal First Amendment interests, DO NOT supersede those of the plaintiff or
Constitutional law as a matter of Federal Question jurisdiction.

160. Censorship is an unamerican reminder of dystopian regimes and personalities. These
defendants-with little exception ~- are busily glad-handing citizens in the public eye about
the city's 'inclusion’ and 'equality' while defendants denied ”speech protected by the First

Amendment”11 on these public forums.

 

11 Cornelius v. NAACP Legal Def. & Educ. Fund, lnc., 473 U.S. 788, 797 (1985);
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161. Defendant’s peculiarity as both violation and the defense of this violation, squarely
resembles ”another reason Congress conferred original federal~question jurisdiction on the
district courts was its belief that state courts are hostile to assertions of federal rights." ~ see
Ml`tchum v. Fo$ter, 407 U.S. 225, 238, 242 (1972).

162. Plaintiff's District standing remains ”any citizen of the United States." it allows a cause of
action created under an Article iii case or controversy as, ”any citizen of the United States".

163. Plaintiff's injury is ongoing as ”a deprivation of any rights, privileges, or immunities
secured by the Constitution and laws."

164. Plaintiff's claims are made as short and simple statements as a claim against Salt Lake
City's open practice of embracing viewpoint-censorship under the authority and direction of
|\/iayor Biskupski and legal director i\/iargaret Plane-a bias whose authority to block others
and targeting alternate political viewpoints arose from the decisions and actions of city
employees under the direction of Plane and Biskupski.

165. The fallout of their failed direction is the sacrifice of clearly established rights any
reasonable person would know-pointedly defendant Plane as a former ACLU director as
someone who intimately -a||eged herein - was in some degree of proximate knowledge or
contact with, and association to, at least one of the piaintiff's in the recent Knight First
Amendment Institute v. Trump case (1:17-cv-05205).

166. Salt iake's council, as a body of elected officia|s, is actively suppressing the voices of this
residents. The finality of its decisions are not the councils as they claim-as the council does
not write the checks or have resources of its own to pay city personnel. The finality rests with

defendants Plane and Biskupski.

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167. The [governing body] of the Salt Lake City is a policymaking entity whose actions
represent a decision by the government itse|f. The same is true ofan official or body to whom
the [governing body] has given final policymaking authority: The actions of that official or
body represent decision(s) by the government itse|f. Thus, when [governing body] or
[policymaking official] makes a deliberate choice to follow a course of action taken by ground
level employees of the communications department to block others under a social media
policy the governing body is responsible for, that choice represents an official policy. Through
such a policy, the [governing body] or the [policymaking official] may cause a violation of a
federal right by: directing that the violation occur, authorizing the violation, agreeing to a
subordinate’s decision to engage in the violation as occurred in this case.

168. [The [governing body] or [policymaking official as Plane and/or Biskupski] may also cause
a violation through [inadequate training] [inadequate supervision] [inadequate screening
during the hiring process], [failure to adopt a needed policy], but only if the [municipality] is
deliberately indifferent to the fact that a violation of [the right not to be blocked on a public
forum causing a deprivation of a constitutional right such as equal protection or speech] is a
highly predictable consequence of the [inadequate training] [inadequate supervision]
[inadequate screening during the hiring process] or [failure to adopt a needed policy].

169. This ”interactive space" where Facebooi< users may directly engage with the content of
the Salt Lake City Council and City Councilors -- are properly analyzed under the ”pub|ic
forum” doctrines set forth by the Supreme Court, that such space is a designated public
forum, and that the blocking of the piaintiff's speech to engage “is speech protected by the

First Amendment" at Cornelius v. NAACP Legal Def. & Educ. Fund, lnc., 473 U.S. 788, 797

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(1985); see also lnt’/ Soc'y for Krishna Consciousness, Inc. v. Lee (|SKCON), 505 U.S. 672, 677
(1992).

170. The deliberate choices by an individual government official, e.g., Plane and Biskupski,
constitutes government policy ifthe official has been granted final decision-making authority
concerning the relevant area or issue. Plane was granted final legal authority to approve the
actions of city employees concerning their interpretation of the social media policies of the
city-and the actions of its city councilors without any specific training for their own sites
representing the city governing body.

171. Biskupski gave the final authority for Plane to act as the final legal authority. i\/ieaning, the
l\/layor of Salt Lake granted final legal authority to approve the actions of city employees
concerning their interpretation of the social media policies of the city-and the actions of its
city councilors without any specific training for their own sites representing the city governing

body.
QUALlFlCAT|ON OF PUBL|C FORUl\/l$--DES|GNAT|ON

172. The Plaintiff sought to engage and participate in political activity-yet was denied these
clearly established rights to engage in political ”speech on matters of public concern" that ”fa//
within the core of First Amendment protection,” Engquist v. Ore. Dep't ongric., 553 U.S. 591,
600 (2008).

173. First, to potentially qualify as a forum, the space in question must be owned or controlled
by the government. The city council sit is owned by the government.

174. in the case of the city council individual counselor sites, they are administered and

operated under the use of an elected officials title. The Supreme Court has frequently

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referred to ”government-owned property," e.g., Pleasant Grove City, 555 U.S. at 478; see also
iSKCON, 505 U.S. at 678 (referring to property that the government ”owns and controls"), its
precedents have also made clear thata space may be a forum based on government control
even absent legal ownership, see, e.g., Christian Legal Soc'y Chapter of the Univ. of Ca/. v.
/l/lartinez, 561 U.S. 661, 679 (2010).

175. When this Court employs forum analysis to determine when a governmental entity, in
regulating property in its charge, may place limitations on speech - l'[,4] speaker must seek
access to public property or to private property dedicated to public use to evoke First

Amendment concerns.” Cornelius, 473 U.S. at 801

“This requirement of governmental contro/, rather than complete governmental
ownership, is not only consistent with forum analysis's focus on ”the extent to which the
Government can control access” to the space and whether that control comports with the
First Amendment, Cornelius, 473 U.S. at 800, but also better reflects that a space can be
”a forum more in a metaphysical than in a spatial or geographic sense,” Rosenberger v.
Rector & l/isitors of the Univ. of i/a., 515 U:$. 819, 830 (1995), and may ”lack[] a physical
situs,” Cornelius, 473 U.S. at 801, in which case traditional conceptions of ”ownership”

may fit less well." 12

176. When thejudiciary analyzes the specific actions of viewpoint censorship in question, and
its additional 'but-for' speech retaliation as type of discrimination also in question -

defendants actions of blocking and the discrimination by its city councilors -- are ”under color

 

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ofstate /aw" precedents developed in the context of actions against state officials under 42
U.S.C. § 1983.

177. in that context, the standards for whether an action was taken ”under color of state /aw"
and whether an action constitutes ”state action” are identical, see Lugar v. Edmondson Oil
Co., 457 U.S. 922, 935 (1982), and an official takes action under color of state law when he
"exercise[s] power 'possessed by virtue of state law and made possible only because the
wrongdoer is clothed with the authority of state law."’ West v. Atkins, 487 U.S. 42, 49 (1988)
(quoting United States v. C/assic, 313 U.S. 299, 326 (1941)).

178. While the Constitution applies only to the government and not private individuals, the
requirement of state action in the forum context is not usually analyzed separately from the
government control or-ownership requirement.

179. While defendants |Viendenhai|, Wharton and Kitchen may contend they blocked plaintiff
on a Facebook forum, previously private as established before they became publicly elected
officia|s, each of these defendants in becoming elected officials then began to conduct official
city business, in some cases (|\/iendenhali, Kitchen, Wharton), using their respective forums
in the promotion of their publicly elected characters, policies and council functions. Further,
as illuminated in the Kniaht First Amendment lnstitute v. Trump viewpoint censorship case

referenced as ”blocking" the comments of others;

”For the same reason, defendants' reliance on the President's establishment of the
account in 2009, Stip. il 32 -~ well before his election and inauguration as President -- is
unpersuasive To the extent forum analysis applies, ”[t]he past history of characterization

of a forum may well be relevant; but that does not mean a present characterization about

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a forum may be disregarded.” Ridley v. Ii/Iass. Bay Transp. Auth., 390 F.3d 65, 77 (1st Cir.
2004); see Make the Rd. by Wa/king, lnc. v. Turner, 378 F.3d 133, 143 (Zd Cir. 2004)
(recognizing that certain First Amendment restrictions apply "so long as a forum remains
public” ,' cf. Bronx Household of Faith v. Bd. of Educ., 650 F.3d 30, 41 (2d Cir. 2011 )
(reasoning that ”the nature of the site changes” depending on how the site is being used).
The Supreme Court has expressly held that ”a state is not required to indefinitely retain
the open character of the facility, ” e.g., Perry Educ. Ass’n, 460 U.S. at 46, but changes need

not be one-directiona/” 13

180. indeed, 'on point’ citations required in this analysis underlies the entire concept of a
designated public forum resting on the premise that the nature of a (previous|y closed) space
has been changed. See, e.g., Cornelius v. Naacp Legal Defense and Educational Fund, lnc. 473
U.S. 788 (1985). Defendant’s Wharton, Kitchen and i\/iildenhail's previously closed forums
had been, consistent with election to public office-changed.

181. in Knight First Amendment institute v. Trump (2017) Judge Buchwald compares two

examples pertinent here...,

”ifa facility initially developed by the government as a military base -- plainly not a public
forum under Greer, 424 U.S. at 838 -- is subsequently decommissioned and repurposed
into a public park the present use of the facility as a park would bear much more heavily
on the forum analysis than its historical origins as a military installation. Similarly, if a

privately constructed airport were subsequently taken over by a public agency, forum

 

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analysis would focus on its current use as a public airport rather than its prior use as a
private one. Cf. iSKCON, 505 U.S. at 681 (”The practices of privately held transportation
centers do not bear on the government's regulatory authority over a publicly owned

airport.”)"14

182. These public commons as designated public forums operate as a collective participatory
service in the democratic function of Salt Lake City. These forums allow those outside the city
to freely participate-forums espousing the principles of ”equality" and ”inclusion".

183. Salt Lake has a policy, of routineiy, allowing comments from non-city-residents. This is
evidenced in the numerous dialogues of the i\/iayor’s Facebooi< postings concerning topics far
beyond the city itself.

184. This public forum routinely provides Salt Lake residents, city news, city updates, and city»
wide information targeting each of Salt Lake’s seven (7) city districts and District councilors,
concerning the operations, policies, and proposed directions of the city.

185. The role of these designated public forum operates are an important commonality to the
residents of SLC. it acts as a source of news and information about the SLC government. it
acts as a public forum for speech by, to, and about the operations of SLC government as it is
incorporated under charter by the State of Utah.

186. This case in controversy arises under Law and Equity of the U.S. Constitution Article iii

Section 2 and § 1331. lt concerns today-as a century ago--the ongoing S. Ct. protection of

 

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one’s right of political speech. it continues to be salient, topical, as constitutional questions
under which this claim has arisen.

187. These questions are squarely rooted in a doctrine of equity-a rule of equanimity of one’s
unique voice to robustly discuss politics. This federal question is about the equality of same
access and same participation of one’s voice and viewpoints--regardless of one’s creed, skin
color, political expressions or in this case-Salt Lake’s cause-ce|eb of acting to limit others
voice and access.

188. This case seeks a Federal answer on these Significant Federal Elements on the mechanism
which these defendants, under color of state law deprived clearly established constitutional
rights under (1) 42 U.S. Code § 1981 as discrimination against 'Equal Rights'; (2) § 1983 as
available relief to vindicate a 'deprivation committed under color of state law' concerning a
'clear|y established right’ and (3) § 1985(3) as 'conspiracy to interfere with civil rights'.

189. These defendants concerning these elements, all, committed statutory violations against
Plaintiff's equity being constitutionally guaranteed to this Plaintiff, and the public at large-- a
protected right enumerated by the Bill of Rights as incorporated in the body of the U.S.
Constitution.

190. indeed, this case is a Federal Question of one’s constitutionally protected free speech,l of
equal access to same rights; and of redress enforceable to the states under the incorporation
Doctrine of the 14th amendment in violation of one’s rights.

191. These Federal Elements invoke the statutory vehicles of the Civil Rights Reconstruction

Act(s)- asking this Judiciary’s determination why SLC defendants-and State Senator lim

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Dubakis-- continue to violate the same laws of the land which a standing U.S. president

cannot grant himself?

Especially in the case of defendants Wharton and Dubakis who take exception
to this presidency on their public forums and posts while visibly denying their
own constituents the right to respond and to be heard by others on the same

forums-as a violation of free speech and equal protection!

192. What special nature is this Salt Lake City and these defendants, that they knowingly, by
conspiracy, grant themselves a form and level of special exception in their own visible
violation of others rights_placing their own first amendment interests above other citizens
first amendment interest. That they act as lone judge and arbiter of the U.S. Constitution
beyond even the ruling in the US Federal District Court of New York_and above the same
laws as the sitting U.S. President!

193. Why are these defendants, these low-level officials and legal municipal officers and city
councilors-breaking and disobeying the same laws and rules of equity in robbing the clearly
established rights of others? That they continued to justify an indifference to their prohibited
actions against any citizen in any District with the same equality of standing as the United
States President as it concerns viewpoint censorship on a designated public forum?

194. That it is Kitchen, Wharton and Dubakis (not named here) suggests as social media bias
and social media collusion to do so.

195. These Federal elements raise the specter of, upon information and belief, a conspiracy
arising under 42 U.S. Code § 1985(3) to deny rights and liberties to others. That it is by and

through this SLC i\/iayor, its legal director and a number ofthe members of its city council who

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intimately knew of the case against the U.S. President as they continued to visibly deny the
same level of protections to the plaintiffwhich they each have continually decried against the

U.S. President?

The overwhelming magnitude of these defendant's indifference to their own
hypocrisy, should compel this judiciary to immediately grant injunctive relief
in this case to rebalance the distorted fantasy of either inclusion or equality

in Salt Lake City!

196. Each of whom having a personal working knowledge of a nearly identical landmark case,
in the 2““l Federal th, Ct, District of New York, concerning the personal Social i\/iedia Twitter
account of the United States President, Donald Trump, as constituted @realDonaldTrump.

197. That these 42 U.S. Code § 1985(3) elements as a conspiracy, had been conducted to
intentionally thwart politically protected speech such as dissent and criticism; were done to
restrict access and redress; have knowingly restricted the same types of civic participation to
the public on these designated public forums in violation of clearly established rights under
the First amendment enforceable to the states under the incorporation Doctrine of the
Fourteenth amendment

198. As of the date of this filing, the city of Salt Lake is aware of several S. Ct. cases addressing
Free Speech protections as applied to social media platforms like Facebook and Twitter.

199. Additionally and pointedly known by these defendants, each one, is a nearly identical
landmark case involving the personal Social i\/iedia Twitter account of the United States

President, Donald Trump, as constituted @realDonaldTrump.

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200. That recent (may 23rd 2018) landmark case, held that,

”...portions of the @realDonaldTrump account -- the 'interactive space' where Twitter
users may directly engage with the content of the President’s tweets -- are properly
analyzed under the 'pubiic forum’ doctrines set forth by the Supreme Court, that such
space is a designated public forum, and that the blocking of the plaintiffs based on their
political speech constitutes viewpoint discrimination that violates the FirstAmendment"...,

That ”No government official - including the President - is above the /aw"15.

201. Government speech is one category of speech that falls outside the domain of forum
analysis: when the government ”is speaking on its own behalf, the First Amend ment strictures
that attend the various types of government-established forums do not apply." Walker v.
Tex. Div., Sons of Confederate Veterans, lnc., 135 S. Ct. 2239, 2250 (2015). "The Free Speech
Clause restricts [only] government regulation of private speech; it does not regulate
government speech." Pleasant Grove City, 555 U.S. at 467.

202. However, ”[t]here may be situations in which it is difficult to tell whether a government
entity is speaking on its own behalf or is providing a forum for private speech." id. at 470.

4 Private involvement in the formulation of the speech in question does not preclude the
conclusion that it is government speech. For example, Pleasant Grove City concluded that
monuments that were privately financed but subsequently accepted by a municipal
government and displayed on public park land was government speech, see id. at 470-71, and

Walker held that specialty license plate designs proposed by private groups but approved and

 

15 2nd U.S. District Court for the Southern District of New York, Case 1:17-cv-05205-NRB.
Document 72 i\/iemorandum and Order Filed 05/23/18

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issued by a state department of motor vehicles was also government speech, see 135 S. Ct.
at 2248-50.

203. in the captioned case of lohnson v. City of Salt Lake, ”speech that is otherwise private
does not become speech of the government merely because the government provides a forum
for the speech or in some way allows or facilitates it.” Wandering Dago, inc. v. Destito, 879
F.3d 20, 34 (2d Cir. 2018) (citing Cornelius, 473 U.S. at 811-13).

204. Again, citing Kniaht First Amendment institute v. Trump (1:17-cv-05205) [doc 72]

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in assessing whether speech constitutes government speech as opposed to private speech,
the Supreme Court has considered at least three factors: whether government has
historically used the speech in question ”to convey state messages,” whether that speech
is ”often closely identified in the public mind” with the government, and the extent to
which government ”maintain[s] direct control over the messages conveyed,” with
Walker’s application of these factors ”likely mark[ing] the outer bounds of the government
speech doctrine.” Matal v. Tam, 137 S. Ct. 1744, 1760 (2017) (quoting Walker, 135 S. Ct.
at 2246-49); see also Wandering Dago, 879 F.3d at 34 (disti/ling the same three factors

from Walker).

205. ”[T]he extent to which the Government can control access depends on the nature of the
relevantforum," Cornelius, 473 U.S. at 800. The judiciary must consider whether the blocking
of the individual plaintiffs is permissible in a designated public forum. ”Regulation of [a

designated public forum] is subject to the same limitations as that governing a traditional

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public forum” -- restriction are permissible ”on/y if they are narrowly drawn to achieve a
compelling state interest." iSKCON, 505 U.S. at 678 79; see also Cornelius, 473 U.S. at 800.
206. Regardless of the specific nature of the forum, ”[v]iewpoint discrimination . . . is presumed
impermissible when directed against speech otherwise within the forum’s limitations.”
Rosenberger, 515 U.S. at 830; see also Matai, 137 S. Ct. at 1763 (”When government creates
such a forum, in either a literal or ’metaphysica/’ sense, some content- and speaker-based
restrictions may be ailowed. However, even in such cases, what we have termed 'viewpoint
discrimination' is forbidden.” (citations omitted) (quoting Rosenberger, 515 U.S. at 830-31)).
207. Here, the plaintiff is indisputably blocked as a result of viewpoint discrimination. The
complaint establishes that ”[s]hortly after the Plaintiffs posted comments to each of the
defendants Facebook sites (Wharton, Kitchen, i\/lendenhall) . . . in which he criticized the
council's leadership or its policies, the councilors blocked individual Plaintiff, The continued
exclusion of the individual plaintiffs based on viewpoint is, therefore, impermissible under

the First Amendmentl€.

”The elimination of the blocked user’s ability to reply and comment is more than the

blocking of a user merely ignoring the blocked user; it is the blocking user limiting the

 

16 Even if the interactive space associated with the content of a post or thread constituted a
nonpublic forum, the exclusion of the individual plaintiffs would not withstand First Amendment
scrutiny. ”Control over access to a nonpublic forum can be based on subject matter and speaker
identity so long as the distinctions drawn are reasonable in light of the purpose served by the
forum and are viewpoint neutral.” Cornelius, 473 U.S. at 806. The blocking of the plaintiff, which
resulted from their ”comments that criticized the council and its policies is not viewpoint-neutral,
and is therefore impermissible ”regardless of how the property is categorized under forum
doctrine,” Wandering Dago, 879 F.3d at 39.

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blocked user’s right to speak in a discrete, measurable way".17 ”The audience for a reply
extends more broadly than the sender of the tweet being replied to, and blocking restricts
the ability of a blocked user to speak to that audience. While the right to speak and the
right to be heard may be functionally identical if the speech is directed at only one listener,

they are not when there is more than one”.18

208. That the blocking of the individual plaintiff as a result of the political views expressed is
impermissible under the First Amendment. While it must recognize, and are sensitive to,
these city councilors personal First Amendment rights, they cannot exercise those rights in a
way that infringes the corresponding First Amendment rights of those who have criticized
them.

209. Damages in this case are warranted. in Carey v. Piphus, 598 the Supreme Court held that
”although mental and emotional distress caused by the denial of procedural due process itself
is compensable under § 1983, neither the likelihood ofsuch injury nor the difficulty of proving
it is so great as to justify awarding compensatory damages without proof that such injury
actually was caused"19.

210. The Court noted in Carey that the primary purpose of the damages remedy in § 1983
litigation is ”to compensate persons for injuries caused by the deprivation of constitutional

righ ts".20

 

17 Knight First Amendment institute v. Trump (1:17-cv-O5205) 2nd fed. Dist. Ct., Document 72
memorandum & Order, Filed 05/23/18 Page 66 of 75.
13 ibid at page 67 of 75

19 ld. at 264
20 id. at 245

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211. **The fourteenth amendment remains pointedly here, a federal question to these Utah
actors in denying ”any person within its jurisdiction equal protection of the laws." U.S. Const.
amend. XiV, § 1.

212. That this vindication is a claim for relief as a constitutional guarantee that ”prohibits state
and local governments from treating similarly situated persons differently." Rector v. City &
cty. of Denver, 348 F.3d 935, 949 (10th cir. 2003).

213. That vindication under a claim for relief, is statutory fundamental guarantee that ”all
persons similarly situated should be treated alike.” See - City of Cieburne v. Cieburne Living
Ctr., 473 U.S 432, 439 (1985).

214. This case arises also because in 1940, the Supreme Court held in Cantwe/l v. Connecticut
310 U.S. 296 (1940) that due to the Fourteenth Amendment, the Free Exercise Clause is
enforceable against state and local governments under the incorporation Doctrine.

215. Defendants ongoing actions created these constitutionally based federal question
jurisdiction claims.

216. These claims had then- ”arising under" - 'color of state law’ action as censorship ~ as
statutory violations and rights deprivations both-being the Rule 8(a) claim that contours a
clearly established right of Speech where the focus is on ”whether the violative nature of
particular conduct is clearly established."' _P_e_r§_a, 817 F.3d at 1204 (quoting i\/iuilenix v. Luna,
136 U.S. 305, 308 (2015)).

217. Plausibility of a claim has ceased to be an issue where these defendants, via the city

communications director, has materially stated this censorship, as the prime ingredient of

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this cause of action--and prior to discovery-began blocking this defendant on the city council

Facebook page on October 231‘1, 2014.

Further, That anyone seeking the acquiesce of this.court in their own particularized brand
of failed government, citing Facebook policy, knowingly pretends to set aside a century of
Supreme Court precedents in violation of clearly established rights, violations of their oath of

office and in deprivation of clearly established constitutional rights of others! (emphasis added)

218. (class action) These violations appear to be additionally directed by outside professional
interests foreign to the scope of Salt Lake’s owed duty of Salt Lake to citizen's like lohnson

(Utahchapter of the ACLU, Globus Relief, Catholic Charities, LDS Corp humanities, etc);

...SPEAKll\lG Ol\l |l\/ll\/lUl\llTY

219. Lastly, immunity. The Judiciary will resolve immunity questions prior to triai. immunities
only apply to individual capacity claims and are not available in official capacity or Moneil
ciaims.

220. While qualified immunity is available to an official sued in his personal capacity, there is
no qualified immunity available in an official capacity suit. The Supreme Court has held that
a local government defendant has no qualified immunity from compensatory damages
llability.21

221. ”[G]overnment officials performing discretionary functions generally are shielded from

liability for civil damages insofar as their conduct does not violate clearly established statutory

 

21 Owen v. City of independence, 445 U.S. 622 (1980).

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or constitutional rights of which a reasonable person would have known." Harlow v.
Fitzgerald, 457 U.S. 800, 818 (1982).

222. The analysis of qualified immunity involves two questions. Question (1) asks ”the officer's
conduct violated a constitutional right.” Saucier v. I<atz, 533 U.S. 194, 201 (2001)22.

223. Question (2) asks if a constitutional right was ”clear/y established,” and in particular,
”whether it would be clear to a reasonable officer that his conduct was unlawful in the
situation he confronted.” id. at 201-02. Officials are provided qualified immunity ”if their
conduct does not violate clearly established statutory or constitutional rights." See i\/layfield
V. Bethard$, 826 F.3d 1252, 1255 (10th Cir. 2016).

224. Citing a 10th circuit court on point:

”|n resolving questions of qualified immunity at summary judgment, courts
engage in a two-pronged inquiry." Toian, 134 S. Ct. at 1865. ”The first asks
whether the facts, 'taken in the light most favorable to the party asserting the
injury, . . . show the officer's conduct violated a federal right."' id. (brackets
omitted) (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001)). The second prong of
the qualified-immunity analysis asks whether the right in question was clearly
established at the time of the violation." id. at 1866 (quotations omitted). ”it is
clearly established that specific conduct violates a constitutional right when Tenth
Circuit or Supreme Court precedent would make it clear to every reasonable

officer that such conduct is prohibited." Perea v. Baca, 817 F.3d 1198, 1204 (10th

 

22 Violation of a clearly established state-law right does not defeat qualified immunity regarding
the violation of federal law. Davis v. Scherer, 468 U.S. 183, 194 (1984).

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Cir. 2016). Clearly established law ”must be particularized to the facts of the case"’
White v. Pauly, 137 S. Ct. 548, 552 (2017) (quotations omitted); see also D.C. v.
Wesby, 138 S. Ct. 577, 590 (2018) (”The clearly established standard . . . requires
a high degree of specificity.” (quotations omitted)). ”Of course, general
statements of the law are not inherently incapable of giving fair and clear warning
to officers, but in the light of pre-existing law the unlawfulness must be apparent."
White, 137 S. Ct. at 552 (citations and quotations omitted); see also Wesby, 138
S. Ct. at 590 (“[T]here can be the rare obvious case, where the unlawfulness of the
officer's conduct is sufficiently clear even though existing precedent does not
address similar circumstances." (quotations omitted)). ”Courts have discretion to

decide the order in which to engage the[] two [qualified immunity] prongs." Tolanc 134 S.
Ct. at 1866 (quoting Pearson v. Callahan, 555 U.S. 223, 236 (2009)). “But under either
prong, courts may not resolve genuine disputes of fact in favor of the party seeking
summaryjudgment." Tolan, 134 S. Ct. at 1866. -cited in i\/icCoy v. l\/ieyersl No. 17-3093

(10th Cir. 2018)31: pp. 12-13

And citing Kozel v. Duncan, No. 10-7065 (10th Cir. 2011)

”i/l/e review de novo a district court's decision to deny a summary judgment motion
that asserts qualified immunity.” Citing Eidson v. Owens, 515 F.3d 1139, 1145
(10th Cir. 2008) - Where a summary of Kozel v. Duncan, No. 10-7065 (10th Cir.
2011) reads,

”The court found that the Sherijj‘ had qualified immunity from the Fourteenth Amendment
claim. But the court denied the Sheriff immunity in his individual capacity from the First and

Fourth Amendment claims. The Sherijf appealed the district court's decision to the Tenth

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Circuit. The Tenth Circuit found that there is authority that ”arguabiy supports” the Sheri s
conduct, but that authority is not so clearly established ”that a reasonable o]ficer standing
in [the] Sheri]j‘ ’s] shoes would have recognized the unlawfulness of his conduct, ” The Tenth
Circuit reversed the district court's decision that denied the Sheri)f qualified immunity on
Plaintiff's First and Fourth Amendment ciaims." -
https://law.lustia.corn/cases/federal/appellate-courts/ca 10/10»~7065/10~7065»
201 1-04~2"7.htmi (taken from the summary as cited)

225. Undoubtedly defendants will make claims of ”qualified immunity". Government officials
performing discretionary functions are immune from suit if their conduct does not violate
clearly established constitutional rights of which a reasonable person would know. Hariow v.
Fitzgerald, 457 U.S. 800 (1982).

226. Because of the nature ofthis city's non-stop campaigns about 'civil rights’ and its personal
connection with the ACLU-hiring outgoing attorneys and directors from the ACLU-plaintiff
asserts, Plane and Biskupski DO NOT enjoy immunity under this doctrine.

227. These defendant's peripheral connection and proximity to the Knight First Amendment
institute v. Trump (1:17-cv-05205) plaintiff-eliminates defendant's zero-sum-gain of
feigning immunity. Defendants were on the sidelines ofthat case_were cheering on a former
Salt Lake Tribune writer which they even a remote association to in that case.

228. Defendant’s own protected political dissent against the US President on the matter of
free speech, sidelines a claim of qualified immunity. Defendants are accountable to their
conflicted choices to both admonish and support those who sue the president over free
speech while they actively used their own illegal policies and practices in the administration
of Salt Lake to block the piaintiff's free speech.

229. Wouldn’t the hypocrisy otherwise, be overwhelming on this judiciary.

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230. This deceptiveness of defendants actions identified here for this judiciary, are nearly
identical in proximity to the Knight FirstAmendment institute v. Trump (1:17-cv-05205) case
describing the illegal conduct ofthis social media policy,' that defendants were critically aware
of and on the periphery of that same case; that the same litigious ACLU consensus concerning
that case-establish defendant's conduct as plainly egregious so that no reasonable person
could have even imagined they were acting lawfully in the implementation of Salt Lake’s
invalid, contrived, unconstitutional social media policy.

231. Whether the law was clearly established should not be assessed at a high level of
generality in this case as it concerns immunity-though established precedent of i\/iay 23rd
2018 is clearly cited here and is assed at a very high level indeed-arriving via sludge Naomi
Buchwa|d of the 2nd District Court's memorandum and ruling order in that Trump/Twitter
case: Knight First Amendment institute v. Trump;

232. lt is beyond question that at least defendant Plane and Wharton_if not all defendants
listed-more pointedly for Wharton and Plane as attorneys ~ that they indisputably
understood with an innate comprehension whether an objectively reasonable person would
have known that the complained of social media conduct was unconstitutional based on the
specific facts and circumstances of the cities social media policy_especially that hey
continued blocking the plaintiff after the Knight FirstAmendment institute v. Trump decision
they had all cheered on and watched unfold!

233. That these defendant were confronted with the same-ness of exclusions by blocking; that

the type of mentioned 'blocking’ in the I<niqht First Amendment institute v. Trump as

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unconstitutional concerned the nearly identical sameness of that cases social media policies
- see /i/lui/enix v. Luna, 136 S. Ct. 305 (2015) as practiced by these defendants-all of them.

234. A claim concerning a constitutional deprivation seeks vindication enforceable through
jurisdictional authority of the District Courts, against State or local municipal intrusion. The
lon point precedent' of the Supreme Court, held in Cantweil v. Connecticut, 310 U.S. 296
(1940), ”that due to the Fourteenth Amendment, the Free Exercise Clause is enforceable
against state and local governments as the vehicle through which the Court applies the Bill of
Rights to the states known as the incorporation Doctrine”.

235. A reasonable person would know this. i\/iore so, licensed attorney(s) Plane and Wharton
pointedly and emphatically understand free speech deprivations are unlawful-under
precedents of law-as enforceable upon the states through precedents such as Cantweil v.
Connecticut, etc.

236. This case argues on point removal of qualified immunity to the city and its actors. This
case is a case in point concerning the violation of clearly established rights of speech-
violated in ”but-for" fashion as a form of retaliation as bias and prejudice underlying these
violations.

237. Qualified immunity PRONG (2): whether A right is clearly established ”A right was clearly
established it was clear-crystal clear-to a former civil rights icon in Utah acting as the
former ACLU director!

238. Plane understood her conduct was unlawful, citing." i\/iaresca v. Berna/illo Cty., 804 F.3d

1301, 1308 (10th Cir. 2015) (quotation omitted), petition for cert. filed, 84 U.S.L.W. 3484 (U.S.

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Feb. 22, 2016) (No. 15-1076). in terms of a properly plead case within the four corners of the

constitution complaint...i

”Genera/iy ”this means that there must be a Supreme Court or Tenth Circuit
decision on point, or the clearly established weight of authority from other courts
must have found the law to be as the plaintiff maintains.” - Appeal from the United
States District Court for the District of Colorado (D.C. No. 1:13-CV-01642-Wli\/i-

KLi\/l (2016)) pp. 8-9

239. This complaint as constituted has provided at least ”Supreme Court or Tenth Circuit
decisions on point, or the clearly established weight of authority from other courts e.g., the
Kingt/Trump case in the 2”‘1 District showing the law to be as the plaintiff maintains".

240. The law is also clear as on point 10th circuit ruling: the First Amendment recognizes, and
protects against, even de minimis harms. See $ix Star Hoidings, LLC v. City of il/iilwaukee, 821
F.3d 795, 805 (7th Cir. 2016) (rejecting an argument of ”de minimis” First Amendment harm
and approving an award of nominal damages); Lippoidt v. Cole, 468 F.3d 1204, 1221 (10th Cir.
_2__(_)@1 (”The loss of First Amendment freedoms, for even minimal periods of time,
unquestionably constitutes irreparable injury."); N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d
483, 486 (2d Cir. 2013).

241. ”[S]tate employment is generally sufficient to render the defendant a state actor." Lugar
v. Edmondson Oil Co., lnc., 457 U.S. 922, 935 n.18 (1982)23. in this case, Salt Lake presents a

special problem of a conflicted allegiance to the government and U.S. Constitution by virtue

 

23 Special problems may arise if the public employee in question has a professional obligation to
someone other than the government.

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of Planes obligation to outside government interests as the Utah chapter of the ACLU; that
upon information and belief, i\/iayor Biskupski has an outside interest to other professional
associations as outside obligations negating her role overseeing the city's legal department;

242. This complaint alleges it constituted exceeds a BellAt/. Corp. v. Twombiy, 127 S. Ct. 1955,
1965 (2007)_standard where Plaintiff's allegations of a violation of a clearly established right
did ”raise a right to relief above the speculative ievel"24.

243. Despite this, plaintiff enters the following on Pleading Requirements: in Leatherman v.
Tarrant County Narcotics intelligence & Coordinatlon Unit25 the Supreme Court unanimously
rejected the ”heightened pleading standard" in cases alleging municipal liability.

244. as example, the S. Court held that the lower Dist. court had erroneously upheld the
dismissal of a complaint against a governmental entity for failure to plead with the requisite
specificity.26 While leaving open the question of ”whether our qualified immunity
jurisprudence would require a heightened pleading in cases involving individual government
officials,"27 the Supreme Court refused to equate a municipality's freedom from respondeat

superior liability with immunity from suit.

Vl. CAUSES OF ACTlOl\l

COUNT 1: 42 U.S. CODE § 1983 - Violation of The Right to Free Speech Under The First And
Fourteenth Amendments of The U.S. Constitution - As Applied to All Defendants

 

24 Beil Au. corp. v. Twombiy, 127 s. ct. 1955, 1965 (2007).
15 113 s.ct.1160(1993).

25 Leatherman v. Tarrant County Narcotics intelligence & Coordination Unit, 954 F.2d 1054,
1058 (sth cir. 1992).
27 Leatherman, 113 S. Ct. at 1162

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245.

246.

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Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set

forth in this listed count;

ll

2)

3)

5)

This count applies to the following defendants:

public forum established by the Salt Lake City Council as constituted at:
https://www.facebook.com/slcCouncil/ and maintained by SLC employee, Amy
Farmer;

public forum established by the Salt Lake City Human Rights Commissionas
constituted at: https://www.facebook.com/SLCHumanRightsCommission/
defendant Wharton whose official page is constituted at:
https://www.facebook.com/ChrisWhartonSLC/ (see attached exhibits 1-7)
defendant Wharton whose private page was then designated as a public forum is as
constituted at https://www.facebook.com/therealchriswharton - seemingly
Wharton and Trump both use the moniker ”the reai” to describe themselves. The
parody of Wharton has created an additional link between the Knight
Foundation/Trump lawsuit (i\/iay 23rd 2018) and Councilman' Wharton who
understood the implications of that lawsuit and is on information and belief, also on
the periphery of that lawsuit by connection to one of that suits plaintiff’sl
defendant iViendenhail whose private page was then designated as a public forum is
as constituted at https://www.facebook.com/ErinForCouncil/ for the purposes of
i\/iendehali who has now just opened her page for comment -

defendant Kitchen whose usage of a 'Dere|< Kitchen' pages expressly for conducting

political activity on behalf of the city, as [they] are constituted at

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https://www.facebook.com/votederekkitchen/,
https://www.facebook.com/derek.kitchen
247. A limited public forum is one ”created for a limited purpose such as use by certain groups
. . . or for the discussion of certain subjects.” Perry Educ. Ass’n v. Perry Local Educators' Ass’n,

460 u.s. 37, 71 n.7 (1983).

”Once it has opened a limited forum,” the government ”must respect the lawful
boundaries it has itself set.” Rosenberger v. Rector& Visitors of Univ. of i/irginia, 515 U.S.

819, 829 (1995).

248. Salt Lake City created public forums, as evidenced in the defendants' sections, yet had
disrespected the lawful boundaries they had themselves set after creating these forums for
the express purpose of ”discussion of certain subjects" related to the operation of the city,
city plans, city developments and city political discussions.

249. The allegation of censorship as pled are defendants' material actions. They are
supplemented as material facts from conversations with Salt Lake City employees as to the
date the blocking on these forums had occurred, being 23 OCT 2014;

250. That defendants' ignoring the rules it had itself set on these forums, then violated the
meaning of their intentioned commitment to, ”a profound national commitment to the
principle that debate on public issues should be uninhibited, robust, and wide-open.” New
York Times v. Su/livan, 376 U.S. 254, 270 (1964).

251. that fact-based admissions by the city and its officers are beyond mere ”labels and
conclusions” as "a formulaic recitation of the elements of a cause of action” in being

insufficient”, citing the heightened pleading standard of Twombiy id at 555

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252. Defendants' blocking of the Plaintiff from the individual (1) The official city council page,
and that of Defendant’s (2) Chris Wharton, (3) Derek Kitchen and (4) Erin iViendenhail violates
the First Amendment because it imposes a viewpoint-based restriction on the Plaintiffs'
access to, and participation on these respective public forums.

253. Defendants' blocking of the Plaintiff from the individual (1) The official city council page,
and that of Defendant’s (2) Chris Wharton, (3) Derek Kitchen and (4) Erin iViendenhail
account(s) violates the First Amendment because it imposes a viewpoint-based restriction on
the participating public's right to hear, too engage and respond

254. Defendants' social media policy resulting in blocking of the Plaintiff from the City council
page under a policy maker function of Salt Lake’s government body - a supervisory direction
of defendant iViargaret Plane in violates the First Amendment because it imposed a
viewpoint-based restriction on the Plaintiffs' access to, and participation on the city of Salt
Lake’s primary city council public forum.

255. Defendants' blocking of the Plaintiff from the City council page by a policy maker function
of Salt Lake’s government body is a supervisory policy of defendant iViargaret Plane, it violates
the First Amendment because the unconstitutional social media policy imposed a viewpoint-
based restriction on the participating public's right to hear, too engage and respond

256. Defendants' blocking of the Plaintiff from these Facebook page violates the First
Amendment because it imposes a viewpoint-based restriction on the Plaintiffs' ability to

petition the government for redress of grievances

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257. Speech utilizing Facebook and other social media is subject to the same First Amendment
protections as any other speech. Packingham v. North Carolina, 137 S. Ct. 1730 (2017); Bland
v. Roberts, 730 F.3d 368 (4th Cir. 2013).

258. The First Amendment represents ”a profound national commitment to the principle that
debate on public issues should be uninhibited, robust, and wide-open." New York Times v.
_ngji_vg_n_, 376 U.S. 254, 270 (1964). Today, ”the most important places for the exchange of
views... is cyberspace and social media in particular." Packingham v. North Carolina, 137 S.
Ct. at 1735 (internal citation omitted). See also Reno v. American Civil Liberties Union, 521
U.S. 844, 868 (1997) (acknow|edging the ”vast democratic forums of the Internet").

259. ”[T]he First Amendment forbids the government to regulate speech in ways that favor
some viewpoints or ideas at the expense of others." Lamb's Chapel v. Center i\/ioriches Union
Free Sch. Dist., 508 U.S. 384, 394 (1993). Therefore, when a government creates a limited
public forum for speech, in either a literal or ”metaphysical" sense, see Rosenberger v. Rector
& Visitors of Univ. of Va., 515 U.S. 819, 830 (1995), there are important constitutional
constraints on the limitations on speech that the government may apply to such forums. ”The
State may not exclude speech where its distinction is not reasonable in light of the purpose
served by the forum," Christian Legal Soc. Chapter of the Univ. of California, Hastings Coll. of
the Law v. iViartinez, 561 U.S. 661, 685 (2010), and the government may not ”discriminate
against speech on the basis of viewpoint." Rosenberger, 515 U.S. at 829.

260. ”The existence of reasonable grounds for limiting access to a nonpublic forum will not
save a regulation that is in reality a facade for viewpoint-based discrimination." Cornelius v.

NAACP Legal Def. & Educ. Fund, lnc., 473 U.S. 788, 811 (1985); see also Davison v. Loudoun

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Cty. Bd. of Supervisors, No. 1:16CV932 (JCC/iDD), 2017 WL 3158389, at *10 (E.D. Va. July 25,
2017).

261. The facade is evident here: Defendants did not, in policy or practice, uniformly bar
Utahans from posting off-topic comments that lauded the defendant(s) various initiatives,
supported his policy initiatives (whether the subject of a post or not), or in a commenter
repeated similar positive commentary. Similarly, defendants do not, in practice, delete non-
offensive or non-insulting comments - particularly when made by posters supportive of these
defendants

262. instead, the Social i\/iedia Policy was drafted to allow Defendants to exercise arbitrary and
unfettered discretion to delete comments, or block commenters of which they did not
approve, under the guise of deeming them ”off-topic,” ”repetitive," ”offensive"
”unacceptable”, or basically-as a vicarious act of blame shifting its own state actions of
censorship onto a non-state actor as the Facebook corporation simply by citing Facebook
policy as non-Facebook employees

263. The Supreme Court has long recognized that ”words are often chosen as much for their
emotive as their cognitive force, ” and that ”we cannot indulge the facile assumption that one
can forbid particular words without also running a substantial risk of suppressing ideas in the
process." Cohen v. California, 403 U.S. 15, 26 (1971).

264. The First Amendment forbids the government from censoring speech based on ”personal
predilections,” and ”the State has no right to cleanse public debate to the point where it is
grammatical/y palatable to the most squeamish among us." id. at 21, 25 in the form of

blocking access as these defendants have.

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265. The Supreme Cou rt has confirmed ”time and again" that ’the public expression of ideas
may not be prohibited merely because the ideas are themselves offensive to some of their
hearers."' Matal v. Tam, 137 S. Ct. 1744, 1763 (2017) (quoting Street v. New York, 394 U.S.
576, 592 (1969).

266. By banning Plaintiff an ability to comment, Defendants directly and implicitly chilled
Plaintiffs' free expression as political dissent and participation without substantive due
process remedy or relief.

267. Defendants violated a clearly established constitutional right - the right to speak freely
on topics relevant to the government in a government-established forum, and particularly an
online social-media-based forum - of which all reasonable government officials should have
known, rendering them liable to Plaintiffs under 42 U.S.C. § 1983. See Packingham v. North
Carolina, supra, at 1735 (it is ”ciear” that ”the most important places”for the exchange of
views are social media sites such as Facebook”); Page v. Lexington Cty. Sch. Dist. One, 531
F.3d 275, 284 (4th Cir. 2008).

268. Conversely in this case of lower level government officials, ”it is emphatically the province
and duty of the judicial department to say what the law is," Marbury v. Madison, 5 U.S. (1
Cranch) 137, 177 (1803), and even in the case of President Donald Trump, the Judiciary has
held that the President’s blocking of the individual plaintiffs in Knight First Amendment
institute v. Trump (1:17-cv-05205) is unconstitutional under the First Amendment.

269. Plaintiff also alleges that these defendants' behavior not covered by absolute immunity.
Absolute immunity does not apply to such conduct, and thusif you find that these defendants

engaged in such conduct, you should consider it in determining defendant's liability.

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270. The denial of constitutional rights is irreparable injury per se, and Plaintiff is entitled to

declaratory, injunctive and compensatory relief.

COUNT 2: 42 U.S. Code § 1983 - Discrimination as A Denial Of Equal Protection

271. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;

272. Plaintiff brings a claim of discrimination under the Fourteenth Amendment's Equal
Protection Clause. This Section § 1983 equal protection claim, alleges plaintiff is intentionally
treated differently than others similarly situated in Salt Lake and there is no rational basis for
the disparate treatment - see Olech v. i/iliage of Wiiiowbrook, 528 U.S. 562 (2000).

273. Plaintiff complained he had suffered injury of un-equal treatment and retaliation as
violations of U.S. Const. amend XiV, § 1, pursuant a constitutional guarantee that ”prohibits
state and local governments from treating similarly situated persons differentiy”.

274. This blocking has treated the Plaintiff different, unequal, than others situated in the same
class of city residents

275. Plaintiff seeks a declaration of this court, citing how Salt Lake City has violated the
constitutional provisions of the 'Equal Protection C|ause’ as enforceable to the states under
the incorporation Clause of the Fourteenth amendment; that Salt Lake’s social media policy
as invalid, created a discrimination of unfair and unequal treatment now vindicated under 42
U.S. Code § 1983,

276. Plaintiff seeks a ruling that the governmental body, its policy's its policy makers as a

practice, policy and custom, have violated his constitutional rights of speech as they relate to

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an 'Equal Protection' under the laws as applied to the states under the Fourteenth
Amendment.

COUNT 3: Section 1983 - Liabi|ity in Connection with the Actions of Another - Municipalities
Liabi|ity Through inadequate Training or Supervision

277. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;

278. When a supervisor with policymaking authority is sued on a failure-to-train theory, the
standard appears to be the same as for municipal liability. See Gilles v. Davis, 427 F.3d 197,
207 n.7 (3d Cir. 2005) (”A supervising authority may be liable under § 1983 for failing to train
police officers when the failure to train demonstrates deliberate indifference to the
constitutional rights of those with whom the officers may come into contact.”),' see also infra
Comment 4.6.7 (discussing municipal liability for failure to train). This is the case here.

279. Plaintiff claims that Salt Lake adopted a policy of [inadequate training with respect to
defendant Fullmer] and [inadequate supervision with respect to council members and the
city communications department], and that the social policy at question, caused the violation
of piaintiff's specify rights as enumerated in this complaint.

a. First: Salt Lake’s training program concerning social media exclusions are inadequate
to train its employees to carry out their duties and decisions of constitutionally liable
based decision making. Salt Lake failed adequately to supervise its employees in the
communications department because Salt Lake City council claims to be the
supervisory body of the communications department for the city council social media

sites This means Salt Lake had no supervisory role where the council claims to be

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operating the communications department for the council Facebook page. Therefore,
Salt Lake City failed to provide any direct supervision and instead-the
communications department Dan Wiest and Amy Farmer believed they were
supervised at the discretion of the city council insteadl

b. Second: Salt Lake’s failure to [adequately train Wiest and Fowler and Fullmer] means
Salt Lake had also failed to [adequately supervise Wiest and Fowler and Fullmer]. This
amounted to deliberate indifference to the fact that inaction would obviously result
in the violation of piaintiff's enumerated rights set forth in the complaint.

c. Third: Salt Lake’s failure to [adequately train] [adequately supervise] proximately
caused the violation enumerated within this complaint

280. Defendant Brian Fuller, a city employee, also failed to act properly due to his lack of
training from the city. This lack of training persisted throughout two separate councilors
terms: former council member, Stan Penfold and Chris Wharton’s term begun in 2018.

281. Both of these councilors had engaged in a social media policy creating the
unconstitutional behaviors complained of to the city, to the council, to the council chair and
to the mayor--without any consequences at any time!

282. Despite the added numerous fair warnings filed with the Salt Lake City recorder's office
and legal department, the application of an unconstitutional social media policy-leading to
blocking plaintiff on these referenced Facebook forums-continued unabated

283. When these third district councilors were engaged in viewpoint censorship on their social
media sites-Fulier was aware ofthe violations as they occurred due to his proximity to these

councilors engaging int this behavior,

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284. To some degree, Fuller then participated in the violations as he was aware of them, failed
to stop them, failed to notify others to stop them and had acquiesced to their occurrence in
full. Fuller is alleged herein as rude, curt and blocks access to the city council members

285. The Salt Lake City councilors themselves are running an ad-hoc viewpoint censorship
program without any city oversight or specific or specialized training by Salt Lake’s legal
department Other than a reliance upon a social media policy crafted by a non-attorney in
the communications department-the Salt Lake City council is acting as a governing body
usurping the role of Salt Lake as the governing body.

2 286. Alternatively, Salt Lake City council has provided no training or oversight in the
implementation of an unconstitutional social media policy.

287. Unlike the city's communications department director routinely confers with the legal
department (Plane as supervisory authority on the governing body's policies) on the
implementation of social media policy.

288. There is no such plan, practice or policy for the individual councilor's own moderation of
their respective Facebook pages as either official in scope-or those made official which
had-just like in the case of the Knight Foundation lawsuit-- shifted the councilors private
pages into the public forum and the public domain.

289. Concerning each of these council sites-no training exists by Salt Lakes governing body as
a prima facia failure to train claim herein;

290. This vast differential in policy making for a government body shirks the responsibility of

training-and has created liability on the city.

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291. This liability is that of the city council using a legally bound resource from the city as a
communications director to implement the cities social media policy only for the City Council
primary Facebook page-while no further training or policy is implemented by the city itself
for the individual councilors or individual sites in the public spacel

292. Plane's and Biskupski's actions as [failing to train] are well documented by a lack of
documentation.

293. Fullmer’s own individual action in failing to act, dates back to Councilman Stan Penfold's
own viewpoint-censorship complained of to the city council numerous times because Fullmer
had no training to act,

294. An individual who is present or becomes personally aware of the civil rights deprivation
and fails to intervene to prevent others from violating a person's constitutional rights is liable
under Section 1983 - see Byrd v. Brishke, 466 F.2d 6 (7th Cir. 1972).

295. Defendant lVlendehall is liable as the city council chair as she has usurped the role of the
city in claiming Dan Wiest-as communications director running the city council social media
sites-is beholden to the council itself and-despite Wiest is a city employee on the city
payroll.

296. lVlendehall as the chair of the city council, is painfully aware of this persistent viewpoint
censorship she has authorized to Wiest in the usurped role of dictating his terms of
employment far outside the scope of the city. After all- iViendenhail has engaged in viewpoint
censorship herself for over a year.

297. First: [Salt Lake as a Governing body] or [Plane as a policymaking official] knew that its

employees would confront particular situation with respect to its social media policies

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298. Second: The situation involved [a matter that employees had a history of mishandling].

299. Third: The wrong choice by iViendenhail with respect to Wiest and the communications
department at the council also compounded The wrong choice by Plane with respect to
allowing iViendenhail to wrongly oversee constitutional law as it applied to an
unconstitutional social media policy and that these issues and failures of a governing body
ultimately reflected The wrong choice by Biskupski in that situation to abate or address the

cause deprivation to the plaintiff as enumerated in this compiaint.

COUNT 4: Supervisory Liabi|ity Under i\/ionell

300. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;

301. Supervisory liability can be imposed without a determination of municipal liability.
Supervisory liability naming defendants Biskupski, Plane runs against the individual, is based
on his or her personal responsibility for the constitutional violation and does not require any
proof of official policy or custom as the ”moving force" behind the conduct. ”[W]hen
supervisory liability is imposed, it is imposed against the supervisory official in his individual
capacity for his own culpable action or inaction in the training, supervision, or control of his
subordinates."28 As with a local government defendant, a supervisor cannot be held liable

under § 1983 on a respondeat superior basis,29 although a supervisory official may be liable

 

28 Clay v. Conlee, 815 F.2d 1164, 1170 (8th Cir. 1987).
29 i\/ionell v. Department of Soc. Servs., 436 U.S. 658, 694 n.58 (1978).

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even where not directly involved in the constitutional violation~°’°-as is the case with both
Plane and Biskupski.

302. in this case, the conduct of the communications department staff (Wiest and Farmer) are
”affirmativeiy link[ed]" to the action or inaction of the supervisory official as the policy maker
for the government body itself.

303. Since supervisory liability based on inaction is separate and distinct from the liability
imposed on the subordinate employees for the underlying constitutional violation, the level
of culpability that must be alleged to make out the supervisor's liability may not be the same
as the level of culpability mandated by the particular constitutional right involved

304. A number of circuits use the Supreme Court's analysis in City of Canton v. Harris31 as an
analogy in determining whether a supervisory official is deliberately indifferent to the
violation of constitutional rights. in Shaw v. Stroud,32 the court held that a three-prong test
must be applied in determining a supervisor's liability.

305. (1) that the legal director for Salt lake City is the final supervisor of the social media
policies and had actual and constructive knowledge that its subordinates Dan Wiest and Amy
Farmer, was engaged in conduct of blocking the plaintiff that posed ”a pervasive and
unreasonable risk" of constitutional injury to citizens like the plaintiff;

306. (2) that the legal director for Salt Lake City is the final supervisor's response to that
knowledge was so inadequate when continually provided fair warning, continually provided

additional notice as remarks directed at the iViayor on her own Facebook pages, and the

 

30 Wilks v. Young, 897 F.2d 896, 898 (7th Cir. 1990).
31 489 U.S. 378 (1989).
32 13 F.3d 791 (4th Cli'. 1994).

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express and implicit knowledge of Knight FirstAmendment institute v. Trump (1:17-cv-05205)
~ that Planes knowledge of all this showed a ”deliberate indifference to or tacit authorization
of the alleged offensive practices"; and

307. (3) that there is an ”affirmative causal link" between the failure to train and supervise the legal

ramifications of any city departments actions as they relate to the deprivation of others constitutional

rights. in this case, the implementation of an unconditional social media policy.

308. Two factors aid courts in considering whether conduct is shocking: (1) whether there was
time for reflection and (2) whether there were competing governmental needs in this case,

liability is warranted for a deliberate indifference owing to the lynchpin of censorship coming

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idea 23 at Ziotpm - 114
` Derek Kitchen endorsed by national LGE$TQ political group

By Siaii j The LGBTQ Viciory Fand has endorsed Saii Lake City
Counciimemi)er Derek Kitchen to replace Sen. Senator Jim Dabakis for his
state senate seat
“Viciory Fund is pleased to endorse Derek Kitchen for state senate,” said
Vicioiy Fund president and CE,O Amxise Pari<er, "Derek’s commitment to
early childhood educ...

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Kitchen endorsed by national LGBTQ political group j
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from a known and admitted reliance on defendant Plane as the city legal advisor to the
Facebook moderator Dan Wiest as the communications director-P|ane was a former ACLU
director with intimate knowledge of the entire breadth and scope of what constitutes clearly
established rights at issue here.

309. Upon information and belief, Plane, Biskupski and Wharton are intimately aware of at
least one of the active Plaintiff's in Knight First Amendment institute v. Trump (1:17-cv-
05205), perhaps even on a first name basis with the pictured Plaintiff from that landmark
Lawsuit.

310. Because of this professional interplay of ACLU personalities, the close proximity to both
the Salt Lake Tribune covering these stories and the Utah ACLU creating stories of 'fair
warning lawsuits' arising our of viewpoint censorship-and the proximity of the Salt Lake
Tribune covering the initial and resulting news of the Kniaht First Amendment institute
M-AND~the Utah ACLU announcing in 2017 its statewide warning to elected officials
in Utah’s delegation not to censor constituents on Social i\/iedia (the actual ACLU warning
coinciding with the initiation of a federal cause of action by Plaintiff's Knight Foundation in
the Trump/Twitter lawsuit) SLC Tribune writers (specifically the pictured plaintiff) had been
for almost a year consorting on this news story while Salt Lake City was already engaged in-
at a time these defendants under the supervisory control of the legal director and the
mayor-did further engage in additional viewpoint censorship to this Plaintiff (Johnson) by
defendant Wharton in that ACLU/Tribune/Knight Foundation Plaintiff.

311. The SLC Tribune continues to act as the continued public media trumpet of the Utah ACLU

while refusing to cover the identical story as it occurred in Salt Lake. The CLU of Utah was

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made aware of this lawsuits viewpoint censorship-on more than one occasion-by posts to
numerous types of statements These statements were made publicly on the national ACLU
Facebook page, the l\/iayor's Facebook page, the former owners of the Salt Lake Tribune page
as i\/iichael Kearns, the Utah Senate, the Utah House of representatives etc.

312. At some point, the story of the pervasive nature of Utah’s censorship, was a paid
promoted story on the Facebook platform. The story ran until those associated with the story
complained At which time, the Facebooi< corporation continued to allow the post-but
would no longer allow the paid promotion of the content surrounding the story.

313. Plane's indifference is shocking to the conscience, as is defendant Biskupski' s, and
Wharton’s Thiers represents a failed “professional judgement" standard as it is applied to
the complete lack of substantive due process of these defendants revoking the clearly
established right of speech_without any substantive due process Due process was neither
offended-nor made available after numerous requests to restore these rights.

314. This piaintiff's attached news-story, ”DATEL|NE: The Second Coming of Censorship” used
the attached ACLUUTAH.ORG picture as posted from its Facebook site and, plaintiff ran the
picture above-attached to his own Utah story--as a paid promotion on the Facebook
platform-sharing it across multiple Facebooi< sites as explained in seeking a remedy for

censorship without litigation.

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315. it is attempts to avoid litigation_in the interest ofjustice and the conservation of the
courts time-going to the heart of this city's administrative hubris and indifference it is
marked by defendant Plane and Biskupski both. Both these defendants critically knew of
Utah’s ACLU fair warning-its coverage was provided widely by the entre commercial
spectrum of Utah’s media establishment at the time the Knight Foundation would be filing
against a U.S. President’s Twitter feed~and brining the case via at least one a plaintiff known

to ACLUUTAH.ORG as a recent and former staff writer for the SLC Tribune.

   

ACLU of Utah »~ Don't Block Canstituents on Social
Media, ACLU of Utah Watas Federal Delegation
“Bacause your desist media pages are a pubiic forum, your blocking ai these
individuals is an unconstitutionai restriction an their right ta free s~aee..,.

lht$£l}ti"¥l@&l“i_{}l?;€?

Figure 2: ACLU’s ’fair warning’ is pictured here, dated Aug 29, 2017

316. Plaintiff's story attached to the ACLU UTAH.ORG’s August 2017 ’fair warning’ is as follows:

DATELINE: Utah’s Second Coming of Censorship.

Truth Bomb...get the digs on the abortuary of public forum bans!

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iN what some are calling an abortion of speech and rights---this post calls out the
local ACLU Utah chapter at the top of this list.

Long before the image graphic below was even created-Afghan Scene had
contacted a real ACLU chapter about a 'one-off' poser here getting bent on
speech. Here's the rest of our list...

...The S.J. Quinney College of Law - for the speech anemic and constitutionally
impaired

...The Utah State Bar -- not so much of a shocker! Perhaps the biggest bunch of
sore losing cock blockers under its current bar president.

...Governor Gary HerBot as we like to call him. The Lil' Abner of mediocre values

...Lt. Governor Cox. Spencer l. Cox gets an honorable mention here as his cock-
blocking fresh-faced-faith ways did so live streaming from the USS Arizona War
i\/iemorial! Cox blocked a veteran while jerking off the Facebook audience as his
salute to servicei `

...The Utah Attorney General--Bishop Sean D. Reyes. No wonder Bishop Reyes'
predecessors both had been indicted, back to back, on public corruption
charges!

Utah Speaker of the House, Greg Hughes. A ding-dong of the liberty bell from
Philadeiphia as his hometown of freedoms didn't translate into braving political
dissent on public forum's Facebook Engineering pagel

...Alt right[s] icon Utah Senate Jim Dubakis

...Salt Lake City Council blocked access on its public Facebook forums Yes, the
city of "we|coming acceptance" as the alt-right[s] equality capitol gets a little
sideways about political dissent.

While this council's city is overseen by former Utah ACLU director iViargaret
Plane--Plane's own pet project dubbed the @SLCHumanRightsCommission is
another falsetto of "human rights" blocking political speech and dissent. |t's
never been about water fountains, Plane. lt's about the constitution.

Plane was the former director of the same constitutionally impaired one-off
ACLU here, No wonder they call it a staff infection...

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317. in fact-few people associated to this current case as filed, can claim ignorance of this
case’s specific facts and the additionally pending case 2:19-CV-00029.

318. Their own 'fair warning’ seeking resolution without litigation was-in the interest of
heading off litigation-~ plastered in the public space without any resolution whatsoever and-
in the case of the City Council’s censorship-dated to 2014!

319. Plaintiff seeks this judiciary declare defendants Plane, Biskupski and Wharton~knew of
and had intimate knowledge of an identically situated lawsuit against their political
adversary--the US President-yet continued to block others even as they cheered on one of
the Plaintiff's in the Knight Foundation lawsuit litigated in the 2nd Fed. Dist of New York!

320. Alternatively-that defendant Plane be held accountable for the action of failing to provide
substantive due process in the revocation of this piaintiff's clearly established right of speech

on the defendants designated Facebook forums

COUNT 5: Section 1983 ~ Liabi|ity in Connection with The Actions Of Another- Failure to intervene

321. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;

322. Plaintiff contends that Salt Lake’s communications department employees [vio|ated
piaintiff's rights of speech, equal protection and due process] and that iViargaret Plane should
be liable forthat violation because iViargaret Plane failed to intervene to stop these violations

323. iViargaret Plane is liable for these violations if plaintiff proves each of the following four

things by a preponderance of the evidence:

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324. First: Salt Lake’s communications department employees violated piaintiff's rights of
speech, equal protection and due process in the act of blocking which arose from the use of
an unconstitutional social media policy.

325. Second: [i\/iargaret Plane] had a duty to intervene. Plane as the top legal advisor for the
City of Salt Lake, has an affirmative duty to intervene-as wella duty of care-- to prevent the
violations of anyone s rights of the city concerning a social media policy she advises on and
gave consent for. Plane failed to intervene in this policy as it was executed by those she
overseas conceding legal decisions of the city creating liability.

326. Third: Plane had a reasonable opportunity to intervene. Plane had an opportunity to
intervene when the civil rights deprivation occurred on or about 23 October 2014 and did
not. Plane had opportunity to intervene after this date and did not, Plane had opportunity
to reverse these policies after a fair warning was filed with the city recorder's office as a notice
of intent to bring suit-and did not, Finally, Plane had the opportunity to intervene when the
Knight Foundation - Trump/Twitter blocking case was announced on i\/iay 23rel 2018-and did
not

327. Fourth: defendant iViargaret Plane failed to intervene.

COUNT 6: Section 1983 - Liabi|ity in Connection with The Actions of Another - i\/lunicipalities

328. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;

329. This case unquestionably involves official policy

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330. ”[iVi]unicipaiities and other local government units [are] included among those persons
to whom § 1983 applies.” Moneii v. Department of Social Services of City of New York, 436
U.S. 658, 690 (1978) (overruling in relevant part Monroe v. Pape, 365 U.S. 167 (1961)).

331. However, ”a municipality cannot be held liable under § 1983 on a respondeat superior

theory." ld. at 691.60

”lnstead, it is when execution of a government's policy or custom, whether made
by its lawmakers or by those whose edicts or acts may fairly be said to represent official
policy, inflicts the injury that the government as an entity is responsible under § 1983.”

ld. at 694.61

332. There are several ways in which a municipality can cause a violation and thus incur liability
as cited in this claim against defendant Plane:

333. Ordinariiy, proof of municipal liability in connection with the actions of ground-level
officers like the Salt Lake City communications personnel, will require, inter aiia, proof of a
constitutional violation by one or more of those officers-such as the unconstitutional social
media polices as proof of a city employees actions resulting in blocking as a constitutional
violationl

334. Because ”There cannot be an ’award of damages against a municipal corporation based
on the actions of one of its officers if the jury concludes that the officer inflicted no
constitutional harm."’) (quoting City of Los Angeies v. Heiier, 475 U.S. 796, 799 (1986) (per

curiam)) - count eight relies upon the finding of the court orjury on count one.

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335. if count one is found to have violated the plaintiffs rights of speech, then Plane is liable
for the actions of the communications personnel's use of a social media policy Plane
ultimately oversees as the legal director.

336. And that Monell’s 'policy or custom' requirement applies in § 1983 cases irrespective of
whether the relief sought is monetary or prospective" See Los Angeles County v. Humphries,
131 S. Ct. 447, 453-54 (2010).

337. Because the showing that the existence of Salt Lake’s official policy or custom as a social
media policy was used in these constitutionally derived deprivations of rights to the plaintiff,
plaintiff has then proved ”that the municipal practice was the proximate cause of the injuries
suffered".

338. Further, in the case of this failure-to-train claims proof of deliberate indifference, the
evidence that shows deliberate indifference demonstrates causation as weli.

339. lt should be clear in this count that a municipality's legislative action (ordinances and
social media policies) constitutes government policy. ”No one has ever doubted . . . that a
municipality may be liable under § 1983 for a single decision by its properly constituted
legislative body - Whether or not that body had taken similar action in the past or intended
to do so in the future - because even a single decision by such a body unquestionably
constitutes an act of official government policy." Pembaur v. City of Cincinnati, 475 U.S. 469,
480(1986j

340. Likewise, if the legislative body delegates authority to a municipal agency or board, an
action by that agency or board also constitutes government policy. See, e.g., Monell v.

Department of Social Services of City of New York, 436 U.S. 658, 660-61 & n.2 (1978)

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(describing actions by Department of Social Services and Board of Education of the City of
New York); id. at 694 (holding that ”this case unquestionably involves official policy").

341. When this judiciary examines this case, it may reflect on failure-to-train cases relevant to
this count. it may observe that in this case, because of the indifference situated in the legal
department of Salt Lake City, that the likelihood that the situation will recur and the
predictability that the communications personnel as city employees are lacking the specific
training, oversight and tools to handle that situation that resulted in the violation of a citizens'
rights; that this court can justify a finding that Plane's policymaking decision not to train the
communications personnel reflected "deliberate indifference" to the obvious consequence
of her-as the policymakers' choice - namely, a violation of a specific constitutional or
statutory right.

342. The high degree of predictability may also support an inference of causation ~ that the
municipality's indifference led directly to the very consequence that was so predictable - see

Board of County Com’rs of Bryan County, Okl. v. Brown, 520 U.S. 397, 409-10 (1997).

COUNT 7: Section 1983 -Liability in Connection with The Actions of Another - Choice By
Policyma king Official

343. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set
forth in this listed count;
344. A deliberate choice by an individual government official constitutes government policy if

the official has been granted final decision-making authority concerning the relevant area or

issue.

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345. The [governing body] of the Salt Lake City is a policymaking entity whose actions
represent a decision by the government itself. The same is true of an official or body to whom
the [governing body] has given final policymaking authority: The actions of that official or
body represent a decision by the government itself. Thus, when [governing body] or
[policymaking official] make a deliberate choice to follow a course of action, that choice
represents an official policy. Through such a policy, the [governing body] or the [policymaking
official] may cause a violation of a federal right by:

i. Defendant’s Biskupski and/or Plane directed that the violation of blocking
occurred as it relates to the social media policies of its governing body,

ii. Defendant’s Biskupski and/or Plane authorized the violation of blocking as it
relates to the social media policies of its governing body,

iii. And both Defendant’s Biskupski and Plane agreed to a subordinate’s decision
to engage in blocking as a violations as it related to the social media policies
of the city.

346. Therefore, Plaintiff seeks judgement and declaration that if you find that such an official
social media policy was the cause of and the moving force behind the violation of piaintiff's

rights as described in this compiaint, then it has found that Salt Lake City caused that

violation.

COUNT 8: Declaratory Judgment and injunction (28 U.S. Code § 2201, et seq.)

347. Plaintiff repeats the allegations set forth in each paragraph of this complaint as if fully set

forth in this listed count;

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348. An actual controversy has arisen and now exists between Plaintiff and Defendants
concerning Plaintiffs' rights under the United States Constitution.

349. A judicial declaration is necessary and appropriate at this time as to all counts

350. Plaintiff seeks a judicial determination of a right against Defendants as they pertain to
Plaintiffs' right to speak on the Facebook Page without being subjected to unconstitutional
policies that impose prior restraints on speech, give government officials unfettered
discretion whether to allow expression and under what conditions and that are vague,
overbroad, and not narrowly tailored to serve a substantial governmental interest.

351. To prevent further violation of Plaintiffs' constitutional rights by Defendants it is
appropriate and proper that a declaratoryjudgment issue, pursuant to 28 U.S.C. § 2201 and
Fed. R. Civ. P. 57, declaring the Social i\/iedia Policy to be unconstitutional as applied to the
Plaintiff.

352. To prevent further violation of Plaintiffs' constitutional rights by Defendants it is
appropriate and proper that a declaratoryjudgment issue, pursuant to 28 U.S.C. § 2201 and
Fed. R. Civ. P. 57, declaring the Social i\/iedia Policy to be unconstitutional on its face.

353. Pursuant to 28 U.S.C. § 2202 and Fed. R. Civ. P. 65, this Court should issue a permanent
injunction prohibiting the Defendants from enforcing the restrictions in the Social i\/ledia
Policy on citizens' expressive activities to the extent they are unconstitutional and to prevent
the ongoing violation of constitutional rights

354. The law is also clear as on point 10th circuit ruling: the First Amendment recognizes and
protects against, even de minimis harms. See Six $tar Hoidings, LLC v. City of i\/li/waukee, 821

F.3d 795, 805 (7th Cir. 2016) (rejecting an argument of ”de minimis” First Amendment harm

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and approving an award of nominal damages); Lippoldt v. Cole, 468 F.3d 1204, 1221 (10th Cir.
g@§j (”The loss of First Amendment freedoms for even minimal periods of time,
unquestionably constitutes irreparable injury.”); N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d
483, 486 (2d Clr. 2013).

355. This injury in fact 'arises under’ Federal Question jurisdiction concerning this case’s
controversy requirements see $pokeo, lnc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

356. Defendants' blocking of the Plaintiff from each of the defendant's public forums and
accounts violates the First Amendment because it imposes a viewpoint-based restriction on
the Plaintiff's ability to petition the government for redress of grievances

357. Defendants' blocking of the Plaintiff from each of the defendant's public forums and
accounts violates the First Amendment because it imposes a viewpoint-based restriction on
the public's right to hear.

358. Plaintiff and others are suffering irreparable harm from continued enforcement of
unconstitutional policies of this governmental body and its policy makers, where monetary
damages alone are inadequate to remedy this harm; and where the balance of equities in this

case are in the public interest and favor a grant of immediate injunctive relief.

Vll. PRAYER FOR REL|EF

WHEREFORE, this Plaintiff requests the following of this Court:

1. Provide declaratory relief pursuant 28 U.S. Code § 2201 concerning these Defendants'

viewpoint-based censorship on the City Council Facebook page as unconstitutional;

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2. Provide declaratory relief pursuant 28 U.S. Code § 2201 concerning these Defendants'
viewpoint-based censorship of the Plaintiffs on individual city councilor's Facebook page(s)
as unconstitutional;

3. Enter a permanent injunction requiring Defendants to unblock the Plaintiff from all city
elected officials and city Facebook all sites where he is currently blocked, and prohibiting
Defendants from blocking the individual Plaintiffs or others, from these Facebooi< sites on
the basis of viewpoint censorship;

4. Award Plaintiff his costs including reasonable attorneys' fees pursuant to 28

5. U.S.C. § 2412;

6. Grant further additional relief as may be just and proper pursuant 28 U.S. Code § 2202;

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7. Grant compensatory damages pursuant 42 U.S. Code § 1983;

8. A grant of any other relief deemed necessary or proper;

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Respectfuily submitted,

 

 

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Aaron Johnson,

Plaintiff, Pro Se

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